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     Jonathan White                                                     May 05, 2022



 1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
 2                           SAN ANTONIO DIVISION

 3    LA UNION DEL PUEBLO                    )
      ENTERO, et al,                         )
 4                                           )
                          Plaintiffs,        )
 5                                           ) CIVIL ACTION
      VS.                                    )
 6                                           ) NO.: 5:21-cv-844(XR)
      STATE OF TEXAS, et al,                 ) (Consolidated Cases)
 7                                           )
                          Defendants.        )
 8                                           )

 9

10                             ORAL DEPOSITION OF

11                                JONATHAN WHITE

12     Designated Representative for the Office of the Texas

13                               Attorney General

14                                   MAY 5, 2022

15

16          ORAL DEPOSITION OF JONATHAN WHITE, produced as a

17    witness at the instance of the DEFENDANTS, and duly

18    sworn, was taken in the above-styled and numbered cause

19    on May 5, 2022, from 10:02 a.m. to 4:06 p.m. before Miah

20    Parson, CSR in and for the State of Texas, reported by

21    oral stenography, at the Offices of the Attorney General

22    300 W. 15th Street Austin, Texas 78701, pursuant to the

23    Federal Rules of Civil Procedure and the provisions

24    stated on the record or attached hereto.

25
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 1                          A P P E A R A N C E S

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19   ALSO PRESENT:

20   Erin Barnes-OAG
     Hani Mirza-OCA
21

22

23

24

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 1   documents with you to the deposition today?
 2        A.   I did not.
 3        Q.    Okay.    Great.     Thank you.      So let's get
 4   started. I understand that you are the chief of the
 5   Election Integrity Division at the OAG; is that correct?
 6        A.   That's correct.
 7        Q.   What is the Election Integrity Division?
 8        A. It's a Division with the attorney general
 9   that's tasked with the prosecution of offenses under the
10   election code or election offenses under Texas law.
11        Q.   When was it -- the -- the division established?
12        A. I believe it was around 2018. Well, actually
13   let me -- let me take that -- let me walk that back.
14   The Election Integrity Section would have been -- begun
15   in 2018. The division was popped out approximately a
16   year ago.
17        Q. That's gonna be something I'm gonna be asking
18   about because there's a lot of nomenclature sort of
19   floating around and I just want to get all of that
20   straight.
21        A.   Yes, sir.      Understood.
22        Q.   For the Election Integrity Division, what was
23   the impetus for that formation as an independent pop out
24   division?
25                    MR. HUDSON:      I object to that to the extent
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12        Q.    (BY MR. DOLLING)         Does the Election Integrity
13   Division have a specific budget that you know?
14        A.    I'm aware of a budget allocation that is
15   tracked by -- by our Budget Division for Election
16   Integrity.     It was a cost center that was created in
17   2019, but that includes both the investigation unit
18   which is housed actually under a separate division and
19   the Election Integrity Prosecution Division, EID.
20        Q.    When I say Election Integrity Division, are you
21   understanding it to include the investigators and the
22   attorneys?
23        A.    It does not.
24        Q.    It does not?
25        A.    I can explain.
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1        A. Insofar as they comprise another category of
2   common offenses we're responsive to those.
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11        Q.    (BY MR. DOLLING)         Is it fair to say that the
12   OAG has a policy of prosecuting offenses under the
13   election code for which it believes there is sufficient
14   evidence to convict?
15        A.    Yes, I think so.
16        Q.    Okay.     And so back to this -- what are we on
17   No. 3, I think.       Back to Exhibit No. 3, you mentioned
18   that it was created for training local election
19   officials, I believe?
20        A.    I don't think I described the purpose exactly,
21   but the purpose is primarily to familiarize elections
22   officials with who we are, what we do, some of the signs
23   for activity that they might recognize and look into to
24   determine whether they feel there is -- are possible
25   offenses that require investigating.               And instruct them
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 1   administrators sporadically, but those are the type and
 2   quality of referrals that we would like to see.
 3        Q.    Okay.     So we can just put this one aside for a
 4   moment.    So I'm handing you what I marked as Exhibit
 5   No. 4.    This is the Texas Court of Criminal Appeals'
 6   opinion majority opinion and Zena Stephens are you
 7   familiar with the decision in Zena Stephens.
 8                      (Exhibit No. 4 marked.)
 9        A.    Yes, sir.
10        Q.    (BY MR. DOLLING)         And if we can just turn --
11   oh, I might have had an extra page in there.                  I'm not
12   sure if your copy has an extra page, but there might be
13   a random extra page.         And if we turn to the last page
14   here, I'm gonna read the holding out here.                 We hold that
15   the grant of prosecutorial authority in Section 273.021
16   of the Texas election code violates article 2 Section 1
17   of the Texas Constitution the separation of powers
18   clause; is that correct?
19        A.    Correct.
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23        Q.    (BY MR. DOLLING)         Okay.    That's fine.       I'm
24   handing you what I've marked as Exhibit No. 5.                  This is
25   Chapter 273 of the Texas Election Code.                Please take a
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 1   moment to look over it and when you're ready turn to
 2   section 273.021.
 3                     (Exhibit No. 5 marked.)
 4        A.    Yes, sir.
 5        Q.    (BY MR. DOLLING)         So Section 273.021 reads,
 6   Prosecution by the Attorney General Authorized.                      The
 7   attorney -- Subsection A, the attorney general may
 8   prosecute a criminal offense prescribed by the election
 9   laws of this state.        And Subsection B, the attorney
10   general may appear before a grand jury in connection
11   with an offense.       The attorney general is authorized to
12   prosecute under Subsection a and Subsection c.                  The
13   authority to prosecute prescribed by this subchapter
14   does not affect the authority to arrive from other law
15   to prosecute the same offenses.             Did I read that all
16   correctly?
17        A.    I believe you did.
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25         Q.   (BY MR. DOLLING)         Okay.     I think we -- we'll
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 1   OAG cannot maintain the prosecution because the OAG was
 2   independently prosecuting the case?
 3         A.   More or less those would take the form of
 4   pretrial writ of habeas corpus or a motion to dismiss
 5   the indictment and generally the remedy that's being
 6   sought by the Defendants is for the entire case to be
 7   thrown out.
 8         Q.   And that's on the basis of the prosecution
 9   being carried out by the OAG's alone?
10         A.   In most cases, yes.
11         Q.   What is -- what is the not most cases?
12         A.   We've gotten challenges based on the fact that
13   we've had anything to do with the case, even if the
14   local district attorneys office consented to the
15   prosecution or was even involved in the investigation
16   and perhaps prosecution as well.              So it opens a door to
17   a whole lot of challenges.
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 1   answer.
 2         A.    I think you could technically say that we're
 3   still prosecuting the cases that are pending, certainly
 4   even the ones that have been challenged on the basis of
 5   Stephens.     Those prosecutions are still pending.                   We're
 6   still on the position of representing the State of Texas
 7   on those offenses and we have a large number of other
 8   prosecutions where we are still involved in the
 9   prosecution where we're working jointly with district
10   attorneys offices.
11         Q.    (BY MR. DOLLING) Okay.          Has the OAG brought any
12   new prosecutions after Stephens where the prosecution
13   began after Stephens?
14         A.    Let me refresh my memory with the bottom of the
15   list of resolved cases.           I believe the answer to that I
16   believe is no.
17         Q.    Okay.    Thank you.
18                       MR. HUDSON:     For purposes of the record
19   Mr. White, can you identify the page that you reviewed
20   to refresh your recollection?
21         A.    Page -- Pages 16 and 17 of Exhibit 6.
22                       MR. HUDSON:     Could you identify that by
23   Bates stamp please?
24         A.    States 087338 and 339.
25                       MR. HUDSON:     My apologies.
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 1   know, that sort of thing.
 2           Q.   Is it the policy of the OAG to always loop in
 3   the county prosecutor?
 4           A.   We don't have a hard and fast guideline on
 5   that, but it's been a best practice for our group
 6   because of resources and looking to leverage local
 7   resources wherever possible, wherever we have a DA or I
 8   say DA because most circumstances it's a district
 9   attorney, but local prosecutor, county prosecutor.                    We
10   would try to loop them in to leverage resources and see
11   if they have any willingness to get involved with the
12   case.
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11         Q.   (BY MR. DOLLING)         Okay.     Is it accurate to say
12   that the OAG hears about most suspected offenses of the
13   election code from outside referrals, outside of the
14   OAG's office?
15         A.   Absolutely.
16         Q.   Earlier, I think you said that the majority of
17   them come from the Secretary of States office; is that
18   correct?
19         A.   Strong majority.
20         Q.   What is -- how -- if you could, could you put a
21   number on that or percentage wise?
22         A.   I --
23                     MR. HUDSON:       Object to form.        Speculation.
24         A.   Yeah, I could put a wide range on it.                 I'm ball
25   parking, but certainly over half and it could be as much
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 1                     So to that extent and to the extent that
 2   vote harvesting operations are complex, wide spread,
 3   touch a large number of individuals, focus on soft
 4   targets, elderly voters, sometimes voters with
 5   disabilities.       They could -- it could be challenging to
 6   go in and find out what happened after the fact, as well
 7   as the fact that if vote harvesting is done correctly
 8   the process can be invisible to the voter.
 9         Q.   So the complexity mostly comes from
10   difficulties in the investigative process because of the
11   protections around voting, would you say?
12         A.   I would say that those complexities extend into
13   the prosecution as well.
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                                                                           A


 7         Q.   (BY MR. DOLLING)         Has the OAG taken through to
 8   conviction a case in which hundreds of votes were
 9   touched by a vote harvester?
10         A.   Probably so, although that does not mean that
11   we were able to prove hundreds of votes, bring hundreds
12   of voters on the stand who were able to explain what
13   happened to them, knew what happened to them, positively
14   identified the person that came by.               So typically what
15   we end up litigating in court is a fraction of the
16   activity of a vote harvester.
17         Q.   So that's what you have attempted to prove, but
18   you have not carried through to final verdict on those
19   facts?
20                     MR. HUDSON:       Objection; form.
21         A.   I'd say what we attempted to prove is typically
22   what's pled in the indictment, however many counts of
23   offenses were charged that would be a fraction of the
24   total activity that occurred.             And then from there we
25   may reach a plea agreement, which may involve one
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 1   OAG, well, I suppose you sort of answered this, but how
 2   often would the OAG decide to initiate a prosecution
 3   after completing an investigation based on a referral?
 4         A.   Whenever we made a determination that an
 5   offense occurred and that there was sufficient evidence
 6   for prosecution.




19         Q.   (BY MR. DOLLING)        Currently or after Stephens
20   if the OAG investigates, you know, on the basis of a
21   referral and determines that a prosecution is warranted,
22   how does it go about making that happen?
23         A.   We would now present the case to a district
24   attorneys office and allow them to decide whether to
25   accept the case, reject the case, they would have the
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1   option of appointing us as a prosecutor.                 If they desire
2   to do that, but the decision ultimately rests entirely
3   currently on under our current policy with local
4   prosecutors.
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25         Q.   (BY MR. DOLLING)        In how many of the pending
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1   prosecutions reflected on this chart has the OAG been
2   appointed by a county prosecutor to work on a
3   prosecution?
4         A. Having refreshed my memory States 087336
5   through 339, I'm seeing five cases where I believe a
6   formal order appointing is on file in the public record.
7         Q.   What is a formal appointment?            Is it a
8   document?     Is it reflected in a document?
9         A.   It is.
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24         Q.   (BY MR. DOLLING)         Okay.
25         A.   There is, you know, to the extent that fraud
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 1   takes place and it's not referred to our agency, you
 2   know, it may well go not investigated and a referral
 3   typically needs to be made to us for us to look into a
 4   case.
 5           Q.   And so to the extent that the OAG operates
 6   proactively in this context you feel like you cannot
 7   answer that question.
 8           A.   I can say this, there is nothing to preclude us
 9   from being proactive in attempting to detect and
10   investigate crimes except for the limitations that we
11   have with bandwidth and the fact that we have our hands
12   full with the cases that come in to us and we've always
13   been a responsive unit.
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13         Q.   (BY MR. DOLLING)         Okay.     I think you might have
14   said this earlier, but is it the OAG's policy typically
15   to loop in the county prosecutor for the county in which
16   the suspected offense occurred if the OAG is undertaking
17   an investigation in that county?
18         A.   That's been our practice more and more over
19   recent years and particularly now since Stephens that's
20   been a practice.
21         Q.   Before Stephens would be the OAG, I -- you sort
22   of implicitly said it just there.              Would the OAG ever
23   carry out an investigation on its own initiative without
24   the involvement of the relevant county prosecutor?
25         A.   Well, I understand 273.001 to be deferring to
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 1   the referral process for an investigation Subsection a
 2   covers the method that two or more registered voters per
 3   territory can present affidavits alleging violations to
 4   either the county or district attorney or us.
 5   Subsection b covers an officers own initiative should he
 6   learn of an election offense under some different
 7   circumstances. Subsection d covers our most common and
 8   preferred method which is referral from the Secretary of
 9   State under Section 31.006. We've always relied on them
10   to sort of perform that in take process for us and so
11   that's -- that is our preferred method and if I didn't
12   answer a portion of your question, please feel free to
13   repeat that.
14         Q.   No, I think you -- you answered me.              Before
15   Stephens, had the OAG ever carried out an investigation
16   despite the relative county prosecutor opposing the
17   investigation?
18         A.   I -- I don't have any recollection of a county
19   prosecutor opposing a prosecution.
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17         Q.   (BY MR. DOLLING)         I suppose an example might be
18   after obtaining a warrant, law enforcement officers go
19   to a location and collect evidence on the basis of that.
20         A.   We wouldn't consider executing a search warrant
21   to obtain evidence or an arrest warrant for that matter
22   to be a raid.
23         Q.   Okay.     But has the OAG utilized that sort of
24   procedure in investigations?
25         A.   If we've -- yes, if we executed a search
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 1   warrant or if we have obtained a search warrant, we do
 2   that with the intention of executing the search warrant
 3   whether that's for data or whether that's to collect
 4   evidence.
 5         Q.    Have OAG investigators interviewed witnesses in
 6   carrying out investigations?
 7         A.    Of course.
 8         Q.    Have OAG investigators interviewed suspects in
 9   carry out investigations?
10         A.    Yes, to the extent that those suspects are
11   willing to talk which --
12         Q.    Understood.      Okay.     So can we now go back to
13   Exhibit 5 and turn to 273.002.
14         A.    Sure.
15         Q.    And for some reason it starts subsections with
16   numbers instead of letters this time, but if we look at
17   Section 273.0021 it says, reading the -- the preliminary
18   language.     For an election in which the attorney general
19   is conducting an investigation the attorney general may
20   direct the county or district attorneys serving a county
21   in the territory covered by the election to conduct or
22   assist the attorney general in conducting the
23   investigation; is that correct?
24         A.    Yes, sir.
25         Q.    Has the OAG ever used this authority to direct
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14         Q.   (BY MR. DOLLING)         Could you put a number on how
15   often that happens?
16         A.   Almost never.
17         Q.   Okay.     And when it has happened, have the
18   county attorneys complied or have you had resistance?
19                      MR. HUDSON:      Objection; form.
20   Argumentative.
21         A.   I don't recall ever having resistance because
22   probably the way that we approach it with a soft touch.
23         Q.   (BY MR. DOLLING)         I think you've already
24   answered this, but I just want to be sure.                 Has the OAG
25   ever used the authority in 273.0021 to direct a county
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1   prosecutor to assist the OAG in conducting an
2   investigation?
3         A.   My answer would be the same.
4         Q.   Soft touch, but not directing?
5         A.   Correct and I'll also refer back to a previous
6   answer that I gave.         District attorney's offices have
7   very limited ability and resources in the investigation
8   department.      So that's another reason that this section
9   has not been frequently used.
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1    for investigations of general crimes under other law.
2          Q.    Okay.    And we talked about this earlier, but I
3    just like to, you know, clarify.              The majority of
4    investigations are carried out in -- to some degree with
5    cooperation from the county prosecutor; is that correct?
6          A.    Could you repeat the first part of your
7    question?
8          Q.    The -- would you say that the majority of
9    investigations into election code offenses are carried
10   out with the cooperation of a county prosecutor?
11         A.    I think to some degree that's probably true and
12   just to present a case to a grand jury requires the
13   permission of a local prosecutor to get time before his
14   grand jury and present that case and actually the grand
15   jury doesn't belong to the prosecutor, but access to the
16   grand jury is for practical purposes controlled by that
17   District Attorney's Office.            So the grand jury is its
18   own entity that's appointed by a district judge, but
19   yes, in answer to your question I would say that we
20   generally have some form of cooperation in every case
21   that we prosecute from the local prosecutor's office.
22         Q.    And similar series of question from before.
23   When carrying out these sort of joint investigations, do
24   the OAG and county prosecutors utilize warrants during
25   that process of investigation?
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 1   general may appear before a grand jury in connection
 2   with an offense the attorney general is authorized to
 3   prosecute under Subsection a.             Subsection d -- c, the
 4   authority to prosecute prescribed by the subchapter does
 5   not affect the authority to arrive from other law to
 6   prosecute the same offenses.            Did I read that correctly?
 7         A.   I believe you did, sir.
 8         Q.   I don't want to ask too many redundant
 9   questions.      So just give me a moment here.
10         A.   No problem.
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11         Q.   (BY MR. DOLLING)         Okay.     I'm gonna hand you
12   what I'm marking as, I think, are we on 7?                 And this is
13   Texas government code Section 402.028 entitled
14   assistance to prosecuting attorneys; is that correct?
15                     (Exhibit No. 7 marked.)
16         A.   Yes, sir.
17         Q.   (BY MR. DOLLING)         So I'm just gonna read it out
18   quickly.     Subsection a says, at the request of a
19   district attorney, criminal district attorney, or county
20   attorney, the attorney general may provide assistance in
21   the prosecution of all manner of criminal cases,
22   including participation by an assistant attorney
23   general, as an assistant prosecutor when so appointed by
24   the district attorney, criminal district attorney, or
25   county attorney.        Subsection b, a district attorney,
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 1   criminal district attorney, or county attorney, may
 2   appoint and deputize an assistant attorney general, as
 3   assistant prosecutor to provide assistance in the
 4   prosecution of criminal cases including the performance
 5   of any duty imposed by law on the district attorney,
 6   criminal district attorney, or county attorney.
 7   Subsection c, nothing in this section shall prohibit an
 8   assistant attorney general from appointment as attorney
 9   pro tem under the provisions of article 2.07 code of
10   criminal procedures; is that correct?
11         A.    Yes, sir.
12         Q.    And so --
13                     MR. HUDSON:       I might just put out on the
14   record for you.        I think the court reporter's losing her
15   mind a little bit trying to keep up with you.
16         Q.    (BY MR. DOLLING)        I can slow down.
17                     MR. HUDSON:       Yeah, I'm not trying to step
18   on you, she's having some problems.
19         Q.    (BY MR. DOLLING) Just want to try to get
20   through as quickly as possible.             I will slow down in the
21   future.     I apologize.       So Subsection c is what we were
22   just talking about, the attorney pro tem.
23         A.    Yes, sir.
24         Q.    (BY MR. DOLLING) I'd like to talk about
25   Subsection a and b.         Does the OAG interpret the Texas
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15         Q.   (BY MR. DOLLING)        Has the office of the
16   attorney general, after Stephens been appointed to
17   prosecute an election code related offense under
18   Subsection a or b as opposed to c which is what we were
19   talking about earlier the pro tem provision?
20         A.   I don't know that we have any such agreements
21   on the public record.        And without giving the impression
22   that there aren't any agreements to proceed corporately
23   in cases, I want to remain consistent and stick with
24   what is publicly available and I don't believe that we
25   have any filed deputization's on the record in any of
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1   assistant attorney general as an assistant prosecutor.
2         Q.   And we sort of covered this before, but has --
3   are any assistant attorney general's currently appointed
4   under Subsection A or B to assist in the prosecution of
5   a pending prosecution by a county prosecutor?
6         A.   I don't believe we have deputization on file.
7   I believe that the situations where we have been
8   formally appointed have been under a code of criminal
9   procedure Article 2.07 as district attorney pro tem.
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22         Q.    (BY MR. DOLLING)        Thank you.       That was my next
23   question.
24         A.    I knew it was.
25         Q.    So if we could turn back to Exhibit No.                   5
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 51 of 122




 1   have been the same circumstances I described before as
 2   it would have been a soft touch.              It would have been a
 3   request that we would not have pushed without agreement
 4   of the district attorney.           And at most it would have
 5   been a reference to a code section, but never a
 6   mandatory directive.
 7         Q.   Okay.     And so I guess that means that the OAG
 8   has never utilized this provision against a county
 9   prosecutor's wishes?
10         A.   Exactly.      Not -- not used it per se, but it
11   could have been referenced with regards to a request.
12         Q.   Okay.
13         A.   It was not, you know, a directive or mandatory
14   in nature.
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1    past and as I previously testified here and before the
2    legislature is we always used a soft touch and a
3    cooperative approach with local prosecutors.                  We'd never
4    desired to step on a local prosecutor's toes or tried to
5    force them to do anything or be involved in anything
6    that they didn't want to be.
7          Q.    (BY MR. DOLLING)        Okay.     Thank you.      So handing
8    you what I've marked as Exhibit 8, which is a copy of
9    SB1 enrolled.       Just confirm that for me.
10                     (Exhibit No. 8 marked.)
11         A.    Yes, sir.
12                     MR. HUDSON:       In the interest of short
13   circuiting out objections on the document itself as he's
14   asking questions.        Can you verify where you got it from
15   and the reason I ask that is, is there's an actual
16   signed copy on the Secretary of States website.                   I don't
17   know if this is the final enrolled copy or not.                   Is
18   there any chance I can get you to clarify that?
19         Q.    (BY MR. DOLLING)        I cannot remember exactly
20   what the website is called, but it's the legislative
21   look up that's provided by the state on the capital
22   website or whatever it is.
23                     MR. HUDSON:       Thank you.
24         Q.    (BY MR. DOLLING)        So, Mr. White, do you
25   understand that when text is struck through it means
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 53 of 122




 1   as it exists now after the additions and removals.                    If
 2   the registrar determines that a person who is not
 3   eligible to vote registered to vote or voted in an
 4   election, the registrar shall within 72 hours not
 5   including weekends after making the determination
 6   execute and deliver to the attorney general, the
 7   Secretary of State, and the county or district attorney
 8   having jurisdiction in the territory covered by the
 9   election and affidavit stating the relevant facts; is
10   that correct?
11         A.    Yes.
12         Q.    Thank you.      So would you agree that SB1 Section
13   2.04 added the requirement of a 72 hour turnaround on
14   the affidavit described in this section?
15         A.    Yes, sir.
16         Q.    And does the OAG agree that it added the
17   requirement that the registered -- registrar deliver
18   that affidavit to the OAG?
19         A.    That is what the statute says.             Yes, sir.
20         Q.    And the requirement that the registrar deliver
21   that affidavit to the Secretary of State?
22         A.    That is what the statute says, yes.
23         Q.    What does the OAG interpret as the purpose of
24   these new requirements in the law?
25                      MR. HUDSON:      Objection; form.         To the
Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 54 of 122
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25         Q.   (BY MR. DOLLING)         Has the OAG Initiated any
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 56 of 122




 1   amendment?
 2         A.   I believe so.       Yes.




19         Q.   (BY MR. DOLLING)        Prior -- under the prior
20   version of Section 31.006 when you receive referral --
21   when you would receive referrals from the Secretary of
22   State, were they -- was there like a formal complaint
23   document like a formal complaint form?
24         A.   Yes.    The Secretary of State has a formal
25   complaint form that's filled out by the complainant.
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1         A.   Yes.
2         Q.   And then it says the Secretary shall deliver to
3   the attorney general all pertinent documents and
4   information in the Secretary's possession and it adds
5   the words and information there; is that correct?
6         A.   Yes.
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 7         Q.   Okay.     Thank you.       And so after the effective
 8   date of SB1, have the referrals that you have received
 9   from the SOS differed in any material way from the type,
10   I guess the format and type of information that you
11   received pre SB1 and post SB1, are there any material
12   differences?
13         A.   None that I'm aware of.
14         Q.   Thank you.       Okay.     Can we turn to SB1,
15   Section 5.15 which should be on Page 48?                 Right in the
16   middle.
17         A.   Yes, sir.
18         Q.   So I'm just going to read -- let me start by
19   saying Section 5.15 amended Section 87.0431B of the
20   election code; is that correct?
21         A.   Yes, sir.
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 59 of 122




23         Q.   (BY MR. DOLLING)         How often would the OAG
24   receive notices under election code 87.0431b prior to
25   the effective date of SB1?
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 60 of 122




20         Q.   (BY MR. DOLLING)         Assuming that county
21   prosecutors would comply with these requirements, would
22   you expect to receive more notices under this amendment
23   than previous?
24         A.   Adding additional category, I think logically
25   you could, you know, just on the basis of there being an
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 61 of 122




 1   additional category you might logically expect that
 2   there could be more referrals or not referrals, but
 3   notices.
 4         Q.    Has the OAG received any notices pursuant to
 5   this new Subsection after the effective date of SB1?
 6         A.    I'm not sure that we have.
 7         Q.    Okay.    And so I guess you are unaware of any
 8   investigations opened as a result of a notice under this
 9   new Subsection?
10         A.    That's correct.
11         Q.    Same for prosecutions?
12         A.    Yes.
13         Q.    Okay.    Thank you.       And can we turn to SB1
14   Section 6.01 which is on Page 50, I think down at the
15   bottom.     So Section 6.01 of SB1 amended Section 64.009
16   of the election code by adding or amending Subsection B
17   and adding Subsections E, F, F1, G, and H.                 Is that
18   correct?
19         A.    Yes.
20         Q.    And so I'd like to read Subsection F, which was
21   added by SB1 Section 6.01, and it reads, a person who
22   simultaneously assists 7 or more voters voting under
23   this section by providing the voters with transportation
24   to the polling place must complete and sign a form
25   provided by an election officer that contains the
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24         Q.   (BY MR. DOLLING)        What sort of criminal
25   activity in a -- in an elect -- in connection with an
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 64 of 122




 1         A.    Yes, sir.
 2         Q.    And it has -- at the end of it, it says hash
 3   tag SB1; is that correct?
 4         A.    Yes, sir.
 5         Q.    And November 5th 2021 was after the passage of
 6   SB1; is that correct?
 7         A.    That is correct.
 8         Q.    Does the statement that election integrity is
 9   my number one priority reflect the policy of the OAG?
10                       MR. HUDSON:     Same objections.
11         A.    I can't answer that.
12         Q.    (BY MR. DOLLING)        Okay.     Do Attorney General
13   Paxton's tweets have any impact on the operations of the
14   Election Integrity Division?
15         A.    What I can tell you is that this is my first
16   time to read these tweets.
17         Q.    Okay.     Do you know if anyone else in the
18   Election Integrity Division has read these tweets or is
19   aware of Attorney General Ken Paxton's statements?
20                       MR. HUDSON:     Objection; form.         Foundation.
21   Objection; form.        Speculation.
22         A.    I don't know.
23         Q.    (BY MR. DOLLING)        Okay.     Has Attorney General
24   Ken Paxton ever put pressure on the Election Integrity
25   Division to investigate more cases?
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1    instruction.
2          A.   Follow the advice.
3          Q. (BY MR. DOLLING) Thank you. Okay. So if we
4    could just go back to the SB1 enrolled which is
5    Exhibit 8 and if we could just turn to Page 52.
6                      MR. HUDSON: Just one thing before we go on
7    any further. So two things; one, I've got somebody
8    waiting for Topic 8. To the extent of the Topic 8
9    questions or are there more things coming?
10                     MR. DOLLING:      We could --
11                     MR. HUDSON: And I'm only asking because I
12   got somebody waiting and so if you guys are gonna --
13                     MS. OLSON:      We can do it now.        How long do
14   you think?
15                     MR. DOLLING: I think it would just be a
16   few minutes really. If we could call that person in for
17   Topic 8 questions about the tweets --
18                     MR. HUDSON: We don't have to do it right
19   this second. I just want to know if I can release him.
20   Yeah, I'm not trying to get in the way of your
21   deposition, I'm just trying to -- if you guys gonna do
22   the stuff with Jonathan then I'll let my other person go
23   'cause they're gonna be -- I hadn't planned to present
24   them toward the end, whenever you wrap with Jonathan.
25                     MR. DOLLING: We'll just finish with
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 67 of 122




 1   our investigative team that's team oriented.




24         Q.   (BY MR. DOLLING)         Given the size of the
25   Election Integrity Division, would you say it's accurate
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 68 of 122




 1   to say that you are aware of all ongoing investigations
 2   and prosecutions?
 3         A.    I'm generally aware of most investigations and
 4   certainly as those investigations develop and they
 5   encounter factual and legal issues, I've become more
 6   informed of.      So somewhere along the line I've become
 7   aware of most investigations.             Certainly all
 8   investigations that lead to prosecutions and I'm at
 9   least generally aware of all prosecutions.
10         Q.    So would it be accurate to say that you are not
11   involved in all investigations, but you are involved in
12   all prosecutions?
13         A.    That's probably fair to say.             I generally get
14   involved from a standpoint of advice, legal analysis,
15   factual analysis, on investigations that reach a certain
16   point, but I think that's a pretty fair assessment.
17         Q.    Are policies or practices ever set for the
18   Election Integrity Division without your input?
19                     MR. HUDSON:       Same objection, same
20   instructions.
21         A.    I think I'll have to follow advice of counsel
22   on that.
23         Q.    (BY MR. DOLLING)        Okay.     Now, if we can turn
24   back to Exhibit 8, which is SB1 enrolled please.
25         A.    Yes, sir.
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1         Q.   And if we could go to Page 52 which should have
2   Section 6.04 on it.         So I'm just going to --
3   Section 6.04 amends election codes, Section 64.034; is
4   that correct?
5         A.   Yes, sir.
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12         Q.   Okay.     In that case, would you agree that the
13   language that was added and removed changed the oath?
14         A.   It did with the addition of language and the
15   subtraction of other language.
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13         Q.   (BY MR. DOLLING)         Okay.     Can we turn to Page 54
14   please?    And that should be Section 6.06, starts at the
15   bottom there; is that right?
16         A.   Yes, sir.
17         Q.   And Section 6.06 amends Section 86.0105 of the
18   election code by amending Subsection A, C, and E, and
19   adding Subsection F; is that correct?
20         A.   Yes, sir.
21         Q.   And Subsection A now reads, A person commits an
22   offense if the person; one, compensates or offers to
23   compensate another person for assisting voters as
24   provided by a different section of the code, Section
25   86.010.    And that's all I want to read for now.                 And
    Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 73 of 122




1   then if we go down to Subsection E, it adds to
2   Subsection E and that reads, for purposes of this
3   section compensation means an economic benefit as
4   defined by Section 38.01 Penal Code.
5         A.   Yes, sir.       I see that.
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18                     MR. DOLLING:      Okay.    Thank you.      I think at
19   this point if we can maybe take a five minute break?
20                     MR. HUDSON:      Sure.    Off the record.
21                     THE REPORTER:       Off the record at 2:05 p.m.
22                     (Recess.)
23                     THE REPORTER:       On the record at 2:19 p.m.
24         Q.   (BY MR. DOLLING)        Okay.    Thank you for that
25   break.     I just have a few more questions before I pass
    Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 75 of 122




1   election fraud as an offense is typically a Class A
2   misdemeanor?
3          A.   The base level offense is Class A misdemeanor,
4   yes.
5          Q.   And that was true before SB1 and it's still
6   true after SB1.
7          A.   Correct.
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1    an opportunity to review that testimony, but I remember
2    I think remember being asked about that.
3          Q.    (BY MR. DOLLING)        Okay.     Well, just for the
4    record, I'm gonna mark Exhibit No. -- I think we're on
5    10.   This a copy of House Bill 6 that was being -- that
6    was at issue at the time of the testimony that we're
7    talking about April 2021.           And I'm not sure exactly what
8    page it's on so let me see if I can find it.                  Somewhere
9    in here     is House Bill 6's proposed changes to 276.01 --
10   here it is, it's on Page 17.
11         A.    Got it.
12         Q.    And so this is Section 5.04 of House Bill
13   No. 6, amended Sections 2 -- 276.013A and B election
14   code and Subsection B was amended to change the language
15   from an offense under this section is a Class A
16   misdemeanor to an offense under this section is a felony
17   of the second-degree.          Do you see that on Page 18?
18                     (Exhibit No. 10 marked.)
19         A.    Yes, that was proposed in this bill and thank
20   you that helps refresh my memory.
21         Q.    (BY MR. DOLLING)        Thank you.       Just to state the
22   question again, at -- at the time that you testified in
23   April 2021, the House had been considering heightening
24   offenses under Election Code 276.013 from Class A
25   misdemeanors to second-degree felonies, is that correct?
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1         A.   It would have been the portion of deposition
2   Topic No. 1 that involved investigations, predicated on
3   suspected violation of SB1 sections.
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23         Q.   And then you also met, you said with a person
24   named Conrad Swan who had something to do with budget?
25         A.   Yes, ma'am.
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 1   that a standard that is used when reviewing and a
 2   complaint a standard that is used by the Election
 3   Integrity Unit to determine whether or not it's going to
 4   move forward on an investigation?
 5         A.   Not as such that's a very baseline standard.
 6   We would have that standard in place because if an
 7   offense -- if -- if a complaint does not actually allege
 8   a criminal offense then we don't have any business with
 9   it.   So it would certainly have to meet that hurdle, but
10   that wouldn't necessarily make it a credible allegation.




24         Q.   (BY MS. OLSON)        And who makes that initial
25   determination within the Election Integrity Unit about
    Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 80 of 122




1         Q.    So probable cause is the official legal
2   standard?
3         A.    That is the official legal standard, yes.
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1    you're free to do so.          Otherwise, I'll instruct you not
2    to answer.
3            Q.   (BY MS. OLSON)      And I'm not asking about any
4    particular case.        I'm asking about what you do in
5    practice.
6            A.   We would look at all legal and factual issues.
7            Q.   Mr. White, I think you testified that you don't
8    keep track or don't keep statistics on how many
9    referrals that come to the Election Integrity Unit
10   results in investigations; is that right?
11           A.   That's correct.
12           Q.   Would there be a way to do that?
13           A.   I think it would be possible to do that going
14   forward.
15           Q.   So, for example,       there -- there's a record
16   kept, I assume of your referrals that come into the
17   office?
18           A.   Criminal Investigations keeps some record of
19   that.
20           Q.   And when you say they keep some record of that,
21   what do you mean?
22           A.   It's not very specific about the allegations.
23           Q.   Do they keep a log of referrals if you know?
24           A.   Something -- something like that.
25           Q.   And when you say something like that, do you
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1   violation of the election code?
2         A.   They don't have those numbers, no.
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 9         Q.   And prosecutors typically like to have
10   documents for a paper trail, correct?
11         A.   Yes and no because documentary cases are a pain
12   to deal with, but yes.
13         Q.   Documents say the same thing every time, right?
14         A.   Theoretically, yeah, I think I agree with what
15   you're saying.
16         Q.   And witnesses might change their testimony from
17   the time they're interviewed to the time they're in the
18   grand jury to the time they testify at trial, correct?
19         A.   Certainly prefer to have a document than have
20   no document.
21         Q.   And so with respect to assistance fraud, what
22   is the and I think this is what you told Mr. Dolling,
23   but please correct me if I'm wrong, which is why I have
24   to reask it, but the mens rea is knowing voter
25   assistance fraud?
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 1         Q.    (BY MS. OLSON) Does the Election Integrity
 2   Division ever handle its own appeals?
 3         A.    Normally not.
 4         Q.    Who handles appeals from the Election Integrity
 5   Division?
 6         A.    In individual cases our Criminal Appeals
 7   Division will often step in to handle ordinary criminal
 8   appeals.     I have personally handled a few appeals, but
 9   it's normally something that we hand off to a
10   specialized unit.
11         Q.    Thinking of some responses to some questions
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 1                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
 2                        SAN ANTONIO DIVISION

 3   LA UNION DEL PUEBLO                    )
     ENTERO, et al,                         )
 4                                          )
                         Plaintiffs,        )
 5                                          ) CIVIL ACTION
     VS.                                    )
 6                                          ) NO.: 5:21-cv-844-XR
                                            ) (Consolidated Cases)
 7   STATE OF TEXAS, et al,                 )
                                            )
 8                       Defendants.        )
                                            )
 9

10                        REPORTER'S CERTIFICATION

11                  ORAL DEPOSITION OF JONATHAN WHITE

12                                 MAY 5, 2022

13

14         I, Miah Parson, CSR, Certified Shorthand Reporter

15   in and for the State of Texas, hereby certify to the

16   following:

17         That the witness, JONATHAN WHITE, was duly sworn by

18   the officer and that the transcript of the oral

19   deposition is a true record of the testimony given by

20   the witness;

21         I further certify that pursuant to FRCP Rule

22   30(f)(1) that the signature of the deponent:

23    _X_ was requested by the deponent or a party before the

24   completion of the deposition and that the signature is

25   to be before any notary public and returned within 30
     Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 88 of 122




 1   days from the date of receipt of the transcript.                      If

 2   returned, the attached Changes and Signature Page

 3   contains any changes and the reasons therefor;

 4             was not requested by the deponent or a party

 5   before the completion of the deposition.

 6         I further certify that I am neither counsel for,

 7   related to, nor employed by any of the parties or

 8   attorneys in this action in which this proceeding was

 9   taken, and further that I am not financially or

10   otherwise interested in the outcome of the action.

11         Certified to by me this 23rd day of May, 2022.

12

13

14
                                   Miah Parson, CSR No. 11773
15                                 Expiration Date: 02/28/2023
                                   Firm Registration No. 633
16                                 Magna Legal Services
                                   16414 San Pedro, Suite 900
17                                 San Antonio, Texas 78232
                                   Phone 210-697-3400
18                                 Fax 210-697-3408

19

20

21

22

23

24

25
  ...              Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 89 of 122
5/2/22, 5 33 PM                ELECTION CODE CHAPTER 273. CRIMINAL INVES1IGATION AND OTHER ENFORCEMENT P-• "
                                                                                                               EXHIBIT
                                                           ELECTION CODE

                                              TITLE 16. MISCELLANEOUS PROVISIONS

                            CHAPTER 273. CRIMINAL INVESTIGATION AND OTHER ENFORCEMENT PROCEEDINGS

                                             SUBCHAPTER A. CRIMINAL INVESTIGATION

        Sec. 273.001.       INVESTIGATION OF CRIMINAL CONDUCT.     (a)    If two or more registered voters of the
 territory covered by an election present affidavits alleging criminal conduct in connection with the
 election to the county or district attorney having jurisdiction in that territory, the county or district
 attorney shall investigate the allegations.          If the election covers territory in more than one county, the
 voters may present the affidavits to the attorney general, and the attorney general shall investigate the
 allegations.
        (b)       A district or county attorney having jurisdiction or the attorney general may conduct an
 investigation on the officer's own initiative to determine if criminal conduct occurred in connection with
 an election.
      (c) On receipt of an affidavit under Section 15.028, the county or district attorney having
 jurisdiction and, if applicable, the attorney general shall investigate the matter.
        (d)       On referral of a complaint from the secretary of state under Section 31.006, the attorney general
 may investigate the allegations.
        (e)       Not later than the 30th day after the date on which a county or district attorney begins an
 investigation under this section, the county or district attorney shall deliver notice of the investigation
 to the secretary of state.         The notice must include a statement that a criminal investigation is being
 conducted and the date on which the election that is the subject of the investigation was held.               The
 secretary of state may disclose information relating to a criminal investigation received under this
 subsection only if the county or district attorney has disclosed the information or would be required by law
 to disclose the information.

 Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.            Amended by Acts 1993, 73rd Leg., ch. 728, Sec.
 78, eff. Sept. 1, 1993;         Acts 1993, 73rd Leg., ch. 916, Sec. 26, eff. Sept. 1, 1993;       Acts 2003, 78th Leg.,
  ch. 1290, Sec. 1, eff. Sept. 1, 2003.


        Sec. 273.002.       LOCAL ASSISTANCE TO ATTORNEY GENERAL.        For an election in which the attorney general is
  conducting an investigation, the attorney general may:
              (1)     direct the county or district attorney serving a county in the territory covered by the
  election to conduct or assist the attorney general in conducting the investigation; or
              (2)     direct the Department of Public Safety to assist in conducting the investigation.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.


        Sec. 273.003.       IMPOUNDING ELECTION RECORDS.     (a)   In the investigation of an election, a county or
  district attorney or the attorney general may have impounded for the investigation the election returns,
  voted ballots, signature roster, and other election records.
       (b) To have election records impounded, the investigating officer must apply to a district court for
  an order placing the election records in the court's custody for examination by the officer.
        (c)       The application for impoundment must be filed with the district court of the county in which the
  election was held or an adjoining county. An application for records of a statewide election may be filed
  in the county in which the election was held, an adjoining county, or Travis County.
        (d)       On the filing of an application, the district judge shall issue an order impounding the records in
  a secure place under the terms and conditions the judge considers necessary to keep them under the judge's
  custody and control during the examination and for any additional time the judge directs.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.           Amended by Acts 1997, 75th Leg., ch. 864, Sec.
  254, eff. Sept. 1, 1997.


       Sec. 273.004. EXAMINATION OF IMPOUNDED RECORDS. (a) The examination of impounded election records
  shall be conducted in the same manner as a court of inquiry.

https://statutes.capitol.texas.gov/Docs/EUhtm/EL.273.htm#273.021                                                            1/3
  ...               Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 90 of 122
5/2/22, 5:33 PM                ELECTION CODE CHAPTER 273. CRIMINAL INVESTIGATION AND OTHER ENFORCEMENT PROCEEDINGS
      (b) Impounded election records must be examined in the presence of the district judge ordering the
 impoundment or a grand jury, as provided by the judge's order.

 Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.


                                          SUBCHAPTER B. PROSECUTION BY ATTORNEY GENERAL

      Sec. 273.021. PROSECUTION BY ATTORNEY GENERAL AUTHORIZED.             (a)   The attorney general may prosecute a
 criminal offense prescribed by the election laws of this state.
      (b) The attorney general may appear before a grand jury in connection with an offense the attorney
 general is authorized to prosecute under Subsection (a).
        (c)       The authority to prosecute prescribed by this subchapter does not affect the authority derived
  from other law to prosecute the same offenses.

 Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.            Amended by Acts 1993, 73rd Leg., ch. 728, Sec.
 79, eff. Sept. 1, 1993;         Acts 1997, 75th Leg., ch. 864, Sec. 255, eff. Sept. 1, 1997.


        Sec. 273.022.       COOPERATION WITH LOCAL PROSECUTOR.     The attorney general may direct the county or
 district attorney serving the county in which the offense is to be prosecuted to prosecute an offense that
 the attorney general is authorized to prosecute under Section 273.021 or to assist the attorney general in
 the prosecution.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.


        Sec. 273.023.       SUBPOENA.    (a)   A subpoena or subpoena duces tecum issued in connection with a
  prosecution under this subchapter is effective if served anywhere in this state.
        (b)       A witness may not be punished for failure to comply with a subpoena issued under this subchapter
  unless the proper fees are tendered to the witness as required by statute or court rule.
        (c)       The attorney general may direct the Department of Public Safety to serve a subpoena under this
  subchapter.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.


        Sec. 273.024.      VENUE.   An offense under this subchapter may be prosecuted in the county in which the
  offense was committed or an adjoining county.          If the offense is committed in connection with a statewide
  election, the offense may be prosecuted in the county in which the offense was committed, an adjoining
  county, or Travis County.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.


                                        SUBCHAPTER C. EXAMINATION OF BALLOTS BY GRAND JURY

        Sec. 273.041.       REQUEST TO EXAMINE BALLOTS.     In the investigation of criminal conduct in connection with
  an election, a grand jury, on finding probable cause to believe an offense was committed, may request a
  district judge of the county served by the grand jury to order an examination of the voted ballots in the
  election.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986. Amended by Acts 1997, 75th Leg., ch. 1078, sec.
  22, eff. Sept. 1, 1997; Acts 2003, 78th Leg., ch. 1315, Sec. 56, eff. Jan. 1, 2004.


       Sec. 273.042. ORDER BY DISTRICT JUDGE. On request of a grand jury for an examination of voted
  ballots, a district judge may order the custodian of the ballots and the custodian of the keys to the ballot
  boxes to deliver the ballot boxes and the keys to the grand jury.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.           Amended by Acts 1997, 75th Leg., ch. 1078, Sec.
  22, eff. Sept. 1, 1997;        Acts 2003, 78th Leg., ch. 1315, Sec. 56, eff. Jan. 1, 2004.


       Sec. 273.043. CONDUCT OF EXAMINATION.           The examination of ballots under this subchapter shall be
  conducted in secret before the grand jury.
                    Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 91 of 122
5/2/22. 5 33 PM                ELECTION CODE CHAPTER 273. CRIMINAL INVESTIGATION AND OTHER ENFORCEMENT PROCEEDINGS
 Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986. Amended by Acts 1997, 75th Leg., ch. 1078, Sec.
 22, eff. Sept. 1, 1997; Acts 2003, 78th Leg., ch. 1315, Sec. 56, eff. Jan. 1, 2004.


                                            SUBCHAPTER D. MANDAMUS BY APPELLATE COURT

        Sec. 273.061.      JURISDICTION.    (a)   The supreme court or a court of appeals may issue a writ of mandamus
 to compel the performance of any duty imposed by law in connection with the holding of an election or a
 political party convention, regardless of whether the person responsible for performing the duty is a public
 officer.
        {bl       The court of criminal appeals may issue a writ of mandamus to compel the performance of any duty
 imposed by law in connection with the provision, sequestration, transfer, or impoundment of evidence in or
 records relating to a criminal investigation conducted under this code or conducted in connection with the
 conduct of an election or political party convention.           If a writ of mandamus is issued under this
 subsection, it shall include an order requiring the provision, sequestration, transfer, or impoundment of
 the evidence or record.

 Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.
 Amended by:
        Acts 2021, 87th Leg., 2nd C.S., Ch. 1 (S.B. ll, Sec. 8.04, eff. December 2, 2021.


        Sec. 273.062.      PROCEEDING TO OBTAIN WRIT.    A proceeding to obtain a writ of mandamus under this
  subchapter shall be conducted in accordance with the rules pertaining to original proceedings of the court
  in which the petition is filed.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.


        Sec. 273.063.       VENUE IN COURT OF APPEALS.   (a)   A petition to a court of appeals for a writ of mandamus
  under this subchapter must be filed with the court specified by this section.
        (bl       A petition pertaining to an election must be filed with the court of the court of appeals district
  in which:
           (1) the respondent resides, or in which one of them resides if there is more than one respondent,
  if the election is statewide; or
           (2) the territory covered by the election is wholly or partly situated, if the election is not
  statewide.
       (c) A petition pertaining to a political party convention must be filed with the court of the court of
  appeals district in which:
           (1) the respondent resides, or in which one of them resides if there is more than one respondent,
  for a state convention;
           (2l the territory represented by the convention delegates is wholly or partly situated, for a
  district convention; or
           (3) the precinct or county is situated, for a precinct or county convention.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.          Amended by Acts 1987, 70th Leg., ch. 54, Sec.
  15(c), eff. Sept. 1, 1987.


                                                    SUBCHAPTER E. INJUNCTION

        Sec. 273.081.       INJUNCTION.    A person who is being harmed or is in danger of being harmed by a violation
  or threatened violation of this code is entitled to appropriate injunctive relief to prevent the violation
  from continuing or occurring.

  Acts 1985, 69th Leg., ch. 211, Sec. 1, eff. Jan. 1, 1986.
                                           Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 92 of 122
                                                                                                                Office of the Attorney General of Texas
                                                                                                                       Election Fraud Violations




                                                                                                                         6 counts possession of
Hardeman   Jchnny Wayne                                                                           013449                 official ballot or carrier       6   11/04/05    EC 86.006    envelope of another.


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Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 93 of 122


Information as of
4/20/2022
                                                               Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 94 of 122

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                                                Vote Harvesting/Mail Ballot                                                                                                                                                                               without the voters's consent. 2 years deferred
 Starr/ Brooks       Oscar Luis Rios                                                     2006 Primary Election          07·05-09741 CR                   ballot without the voter's
                                                          Fraud                                                                                                                                                                                           adjudication, $300 fine, 2 years community
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Duval/ Brooks         Lydia Molina                                                       2006 Primary El&ction        08·01-09864, 11479                  official ballot or carrier                     6    10/02/08           EC 86.006
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                     Jami Parkmson                                                            2008 Municipal                                                                                                                                            revealing 1nformat1on before polrs close. 2 years
    Gohact                                     results prior to the dos,ng of                                             08-8-8%7 CR                      revealing information                         l    11/12/08           EC &l.007
                             B1lhngs                                                             Election                                                                                                                                               deferred adjudication, $3,000 fine, 2 years
                                                            polls                                                                                            before polls close                                                                        [,.,.....,...,.,,,..;.., ,,,, ,.,. ,,.

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Starr/ 6rooks        Oralia Frausto               HarvestJng/Mail Ballot                 2006 Primary Election          07·05-09738 CR                   ballot without the voter's                    15     03/26/09           EC 86.006                1 year pre-tnel diversion
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r,/11<00/ts         Marlo Go,,,zollez           _kllr-: stmg/Ma,l Etatlot         2006 Primary El«:tio1>                07-05-09742 CR                   ballot.•1th.out the voter's                     5    a3n6109            EC8& 006                  1 y6&r' prewufll divef'sla:n
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                                    Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 95 of 122
Hill                                                          2:00SMun!dpal                          1 count of Ufktoal vot,n:9-         OW29/<>'»   E:,C, 64.012   PICidQullty fbr 5 yurs lDO, problted fbr 5 years
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                       urvuigea e1ect,on resuits pnor
                                                            2007 School District                      3 counts false report to                                      Pted guilty to 3 counts of false report to a peace
                         to the closmg of polls on                                                                                   3   10/14/09     PC 37.08
       Leland Mac                                             and Municipal                                peace officer                                            officer. 2 years probabon, $2000 line, 90 days in
                      election day; made false report                               M0593·09
        Coffman                                                  Election                                                                                           jail, probated

                                       ..
                      to peace officer i , bout divulging




                                                                                                  Information as of 4/20/2022                                                                                         Page 2
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       Harris'
                       Jad<Cor'ol            lllejja! i/oo,,g •       '°" 200S Prlma,v El«oioo                                            12.isaui                 \tOtel.l-n•(-nsa:on,.rion -          l          10/06,/09         EC64.B12
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                        Cmwder                            de<. ..... dvoter



 Star,/BtoalcS          R.aul Revna                 (liege V'or1ng - F-4on
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                                                                                        2007 M""ldpat ood
 Stan/Brooks          Cynth                      111-iia, VO<Jno - FolM                                                               09•04·09881 CR                                                                                                                                                             00
                                                                                         Sch-091 Election                                                           lnefl:glbla voter ,_,on
                                                                                         2007Munoc,pal                                                         I
 Sta,ir/Brooks     Eh!abeth "'4i!'rtlneJ',         Ul'eof,I VC)(:1P'lg F111on                                                         09-D<I -099812 CR
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                                                                                                                                                                            .-.-r-·•i ... ,
       P■nolo         D<•" NIJ<o<>              Otrldel oppr..,iOc\; •o(ing           2006 Speo«I Bod.ion                               2007 •0193
                                                                                                                                                               p
       D•mm1t/       Maria Mendoza             Vote Harvesting/Mail Ballot                                                                                      o
                                                                                      2006 Primary Elect10n                          08· ll ·00052 CRL
       LaSalle           Garcia                          Fraud
                                                                                                                                                                     7
   o,_                                                                                                                                                                    COWlU- ko0¥ifingl'I




       LaSane-
                   Estela Ctur Saertt
                                              VOi• Ho,-ling/Mail Ballot
                                                       Fraud
                                                                                      2006 Primary fMcttotf                          08•12·00063 CRL
                                                                                                                                                               provide false lf"lformatton
                                                                                                                                                                                                        7          0<1/LS,ILO        ECS     ◄0041         6 months. pre...trlal dJVarsfon, $60 supeKVtslon fee

                                                                                                                                                                         .• . . -
                                                                                                                                                                on.an a r lP Ocat1on for ar-.
                                                                                                                                                                   4 counts of method of                                                                   Pied guilty to unlawful possession of ballot, 12
Jim Wells/ Live        Zaida Cantu             Vote Harvesting/Mail Ballot
     Dok                  Bueno                          Fraud


Jim Wells,/ Live                               Vol Har-,es11AQ/Ma1! Ballot
                      Nor;rMLopez<
        Otk                                                   Pra"d

Jim Wells/ L.Jve                               Vote Harvesting/Malt Ballot
                     Cynthia Lopez
     Oak                                                 Fraud
                                                                                                                                                               1 rount iUegal votlno·{1)
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   H>dal\)°"         P:u:ben l'revin6         llleg&i   ""'1"11• jlolo,,, llrfboty.    20lle S<hool Ois<rl«
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       atooks.            G.rc1a                   and offloal,m,sa,nd,Jct;                   EJedlon                                                          t count of earner enveloPE                                                                   years camm,,alty SulJOIV'slon, f500 ftn<o
                                               Vote Harvesting/Mail Ballot


                                                                                                                                                                                                                                                           Pied guilty, 6 months community superv1s1on, 180
       Starr'"       Raul Pene. Jr.          Fraud• Unlawful possessk>n of 2010 Primary Election                                         CR-10-371             action by anoth@r person                 I          06/22/10          EC 86.0051
                                                                                                                                                                                                                                                           days in jall (suspended), $500 fine
                                             56 mail-in ballots by candidate                                                                                        other than voter
                                              Vota """""'tin<Jt"1atl Balklt

                                              Fraud       ?roviding fraud11.dent                                                                                     l cot,nt of 1.1nlawful
 Slarr/El(ooks      M•r,laoGano                 r'Ost,atian a ir d:r to vam
                                                                                      2006 Pnmarv E1ection                            07-07-097¥      CR
                                                                                                                                                                   dekve'ry of a ce,trfkate
                                                                                                                                                                                                        l          09/lS/10          ECll.145              Jury tr181 f S1:JftJng.1n hung )Ur.J, Qsm'd
                                                                --
                                                                                                                                                               1 count illQgal votlng-(1)
                                                                                                                                      09·09-10117 CR                                                               11/10/10          ec 64.012              Pied guilty, 2 years TDCJ·lO
                                                                                                                                                                  ineligible voter felon
                                                                                                                                                                   1 munt of tJnlaww                                                                        --   guut:y·to ..-:o ,101-. or II tsailot and UNa)ffru1


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Ouval/llve Oak
                         Christ:1-qa:
                      Litt,l:en r
                                              va.. H•i•- •i!ollot
                                                 fr•U<VAsslstence. Fraud
                                                                                      2008 Prlmo,y Becbon                               20080, 20061
                                                                                                                                                                    roefbod af returned
                                                                                                                                                                                                        2          12/11/10      1:C 6◄.036, 86.006 I A8'stMnO!I!• a{ld rKeived 1 Y••r deifet-red
                                                                                                                                                                                                                                                       N I Ju</lc8tion, •od pak! • $1000 fine and rourt
                                                                                                                                                                          --•t.. ...ii...11_ ..
                                                                                                                                                                    l count of unlawful
                                                                                                                                                                                                                                                            - --
                     Andrea Campos             Vote Harvesting/Mao Ballot                                                                                          assistance, l count or                                                          Pre-trial diversion 6 months, $3,500 donation to
Duval/live Oak                                                                        2006 Primary Election                             20082, 20063                                                    2          12/14/10      EC 64.036, 86.006
                        Bierstedt               Fraud/Assistance fraud                                                                                              method of returned                                                             the county
                                                                                                                                                                          ...,.._. 1,,.A i-..,.11,.,.


                                                                                                                                    20084, 211!1115, Zll086.        4 counts of unlawful                                                                    Pied guilty tCI 4 <ounts of Pb-Ion ol • 8ellot


                                              V-        Ha,..,...titlgi/Ma,I Ballot                                                                                as.stS.tBnca, -4 counts ot                                    E.<: 64.036, 86.006
                                                                                                                                                                                                                                                       and 4 c:ouots. of Unlawful Assl$14n<:e, and .-..i
Otlval/Live Oak Allc:ii11P•naP                                                        200& Primary B-                               20081, 20088. 20<,89,                                                          12/14/LO
                                                 Fraud As51sunce fnucl                                                                                                   mett,od of return«!                                                               1 year JaN# probet&d fc>r" l2 monthc, and paad a
                                                                                                                                       20090, 20091
                                                                                                                                                                            matkadbel                                                                      $1000 fine a      court costs
                                                                                         2009 Munldpa\                                                         l count ol lllOQ•I Voting•-                                                                 Pied guilty, ll'@Cll'IVed four ,;enrs of defe,red


       Smith                                                                               Ronald Marsh                                                                                                                                                                              Salinas
                                                    O..IIH,I                                                                          Ester 5andoval
                          Bexar                    Rockwaa                                                                            Martinez-Moreno          d             f,01ilha-n- Reoino
       Smith                                                                             Attn Ma,fe..Mars.h
                                                   Duval/ Jim Wells
                                                                                                                                                                                 cantu
                                           Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 97 of 122
   Illegal      Electton - Local    24l·16S2·11                    (L) 1neJ1oible     adJudicatlon, a
   Voting           no• n                                          voter              $1,000 tine:, and
                    2009                                                              LOO hoors of
                  Municipal         2:11·16S1•11           1 «runt of!llegol          ,.,...........,.,inlhf ..,..-..
    ll'-          Ekkt i o n -                                 Voong-                 Ir• M, r
                     ,. ._ ,,                              fl) 1neft9'bt•voter
   1Vot                                                                               Plea bugoinln
    ino             _LotaI          2010-W-0375
                                                                                      2 ◄1•16112-U ,
                                                           l count of
  Unlawfully                                               tampering of a
                                                                                      guiltYputo
 accepting n    2010 Primary                                 90vernmental
                                                                                      dof'd adj;
    voter,        Election         110820110::L·A ll-02-     record
  unlawfully
                                                                                      ro,;ultlog in
permtttmg the                                                  2     C)l!!nt.S   or   di<miSMI.
 deposit of a                      13251-CR                art
 ballot, and    2010 P<!""',Y                              1ileo■! """no-             Pied
    illegal       l:iec<JOIT                               (311/0ter                  ouilty to
                                                           1mpersonot10r1 flt
    '"""                                                                              one count
                                                           polhnq
                                                                      -•-             of
    Illegal     2008 Primary
                  Elact,on                                 1 count of rllla(Jal       misdeme
   llo<m1                                                  voting-                    3nor
       1•                                                  ( 1) inel1oible            Tampenn
    Vote,-                                                 voter felon                o, 1 year
   Jrnper
   sonatl                                                                             probation
     OOI
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   Illega
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      l                                                                               1HeQal
   Votin                                                                              votmo for
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   Felon                                                                              0C'lat1P)Q
                                                                                      • vot.,., 1
                                                                                      yur
                                                                                      p,obatton.
                                                                                      paid
                                                                                      szz1court costs.
                                                                                      Pied guilty tor 2
                                                                                      years probation,
                                                                                      90 days in jail,
                                                                                      and_a t2000 fin"'


                                                                                                                        Information as of 4/20/2022   P1:1ge 3
                                                       Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 98 of 122

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                                                               .
                                                                                                                                                                   """"                                                                                   Convicted by a Jury on 11/tw11,•.,..mnc.i to, 2


   H"'°lilol                                                                      2009 School District                              I co<i.ntoff"!l•f•wtmg·                                                                                               Y""rs TCDJ, •uspendad for S voa on probeNon,
                     -AJ'manu                    11._i voting                                                IQ•03·1Cl3-t2-a!                                                                        I                    l:i/OIJ I     f:.C..OU
   6rooh                                                                                !.'fe<tion                                  ( 3) voter fmi>e,<sone<,on
                                                                                                                                                                                                                                                          ,.9.0 day, h1C o u nty Jetl n II conditle$n of p,obetion,
                                         Voter impersonation (voting for
                                                                                                                                                                                                                                                                         -·-
                                         20 years using the identity of a
                                          deceased voter still on voter                                                                                                                                                                                    Statute of limitations tolled by filing of 1nd1ctment
                                          rolls, while voting herself by                                                          2 counts of illegal votmg -                                                                                               on 9/18/11. Defendant declared incompetent to
     Bexa,          Mary Comparin                                             2008 General Election            2011-CR-7939                                                                          2                                E.C. 64.012 (a) 3
                                           mail ballot), benefits fraud                                                              voter impersonation                                                                                                   stand trial Cause 2011·CR·7939 closed, case left
                                           (rece1vin SS benefits for                                                                                                                                                                                                             pending.
                                            herself and a dece.!!lsed
                                                   ind1v1dual)
                                                                                                                                                                                                                                                          ,....... g lty. I -    .,.,...,.., a<l)U<MAti<>n

                    shati , Otrisdne                                                                                                   I count ol Unbowful
    Bruos                                  Unl.twllilly 1n11.,.,\C"19 Vot.,   21111) Genenlf -A             11-05590-cRH-C:Cll             As.s.tstanCAi                                                                                      64.0lt.
                        ThdtNls




    Oohas/                                  Aggravated perjury ,n                                                                    4 counts. of 1ogr1vated
                    Name R.wnoved                                             2010 Primary Election
   Rodr.wall                             connection W1th ll al VobnQ                                                                         perJory
     1i..<1                                                                                                                        1 count ot lllaQanl/00/lg •
                    N"""'Romoved                  lJlegai Voting              2010 Pfl,.,..ry E1ectlon
   R-""" ii                                                                                                                             j..llnlble votor
    OallasJ                                                                                                                        3 COCJ.t'\ts ormaoail 'IOt!rlO •
                    Nar;ne emoved                 lfle,oal Vottno             20Hl Pnmary Elec:uon
   c,...,.kwall                                                                                                                         11lmI01ble vo --
    Dalla#                                                                                                                         3 c:ou nts of 1Begal voting •
                    Nam,,R:eno-                   DlaQal Voting               WIO Prlma,Y a.aion
   o..... ,•11                                                                                                                             lnt:11"'1'.J ...... . - ..-


    Dallas/                                                                                                                         2 counts of illegal votmo -
                    Corlos Medreno                llleoet Voting              2010 Pnmary Election               2-ll!-418
   Rockwell                                                                                                                             1nelig1ble voter


    Dallas,/        RobertEdwa,d                                                                                                   l counts.at iheosf voc.ag ..                                                                                           Jn &«twinge for • Wledg"emel'lr of ofhw\se •nd
                                                  Jll&gal VotlnQ              20l0 Pnma'll Electlon             2-11-420                                                                            3                     02/16/12      E.C 64.012
   Roc ail              Mo<for-.,o                                                                                                         lnelio- vot..-                                                                                                 ooop<Ating !l!Stlmony at tr I. charges dsm'd
                                                                                                                                                                                                                                                          ·• guilty to two counts ol' aooravateczperJury, 41
                                                                                                                                    6 counts of .!!IQOravated                                                                                             years TDCJ probated for 4 years community
    Dallas/                                Jlleoal Voting, aggravated
                    Rolando Medrano                                           2010 Primary Election              2-11-416                                                                            6                    02/29/12       P.C. 37 03       supervision, $5,000 fme, $219 court Coust., 45
   Rockwall                                          perjury                                                                                perjury
                                                                                                                                                                                                                                                          days in jail as a cond1t1on of probation, work
                                                                                                                                                                                                                                                                  a,.,'-" a,.,
    0.11.. ,                                                                                                                        I <w<it orim al •Ollng •
                                            !il'egol Vatlt'I}, -n,valocl                                                                                                                                                              B,C. &4.012. P.C.
                    RO<l•ol.14..dc""°                                         lt,10 Primary 81"""°'1        2-11-1011, 2·11-♦l4   i11e1i,g;b4e -,:ot1f,. 5 o:,unts. of                               6                    £}2/28/11                       Dtsm'd upon conv1ctton of dafendant1n 2.·ll-418
   Roclcw•alf                                         perju,y                                                                           .\llnr•.,••.,.. .......-1.........                                                                 37.03
                                                                                                                                   "counts or possessiOA or
                                                                                                                                   an official ballot or carrier
                                                                                                                                                                                                                                                          Pied guflty to two counts of Unlawful Assistance,
                                                                                                                                     envelope, 3 counts of
                                           Vote Harvesting/Mail Ballot                                                                                                                                                                                    two counts of Possession of a Ballot, and two
    Dallas/                                                                                                                           unlawful assistance                                                                               E.C 86.006,
                    Gilda Hernandez         Fraud/Assistance Fraud -          2010 Primary Election          11082011CCL-B                                                                                                04/05/12                        counts of Failure to Provide ldent1fying
   Rockwall                                                                                                                          (1nfluencIng voter), 2                                                                            64.036. 86 010
                                               lnf1uencmg Voter                                                                                                                                                                                           Information While Assisting e Voter, and received
                                                                                                                                    counts failure to provide
                                                                                                                                                                                                                                                          one year of deferred adjudication and a $250.
                                                                                                                                     1dent1fymg mro while

   Hrclalgc/         l'<>oeOe-Jes:us                                              200& School Oislnct                               I count llleilal -Joimg-(l)                                                                                           Pied guoi<)I, rece1Ved 10 yeor,, lDCJ, probated for
                                          lllogol .oting • """'1, blibw?                                      09-10U5CR                                                                                                   14/12          E.C 64.1)12
    Btoob                 Qno                                                           Boct!OJ>                                       ,nei;gfble VOUlr f.io.,                                                                                            10 yeers,. $1,000 fill4:, and $313 court cos.rs
 Henderwn/                                                                           2009 Mur.nap.l                                1 count of Dlegal Voong-
                      Frank A.os.s.               m.ga,Vot<n11                                                 241-1683-11                                                                           1                    06/19/Ll       E..C. 64 012     OtSm'd
   Sm,tl\                                                                               FlectiM                                         (L). 1n,el'i01ble VOtlM'
                                                                                   2010 Municpal and                               2 CDt.inl:s tlfeo•l voting b',f                                                                                        Pitd11Utlty to illegof voUng (1 a.), Wfltenc:ed tel 3
   Hldolgo·          Angel Tn,jillo          Ill-IVotl"'O • Falor,                 Scf l o o l Dlstrkt
                                                                                      . , _ .. ,              0!·1914-12•E              ineb'Qible voter
                                                                                                                                                                                                     2                    011/12        E.C. 64.012       veafS' TOO#probateid ftrr community·supe,vistQf'I

                                                u·n1awf\Jtl'y r Hng                                                                   Unlawfully R•..,..JJ.ng
                                                                                                                                                                                                                                                          ·=• ··-·
                    Baudelia Zapata                                                  2008 MunK1pail
   Hidalgo'                               lnfOfmatlon bafora me p;otJ5                                          12-01S29            lnformot100 before polls                                                              12/27/12       EC 61.007        No S.il
                           ojas                                                         Elect1oo
                                                            1--··                                                                            closa
                                                                                    2008 M<l<oidl)tll
   Hidalgo'         Sy1v,a SIiia$ Vela            lll-iVoltllO                                                  12·03519                     DI-IVObnQ                                                                    12/27/12      E.C. 64.012       ,;QBIII
                                                                                        •r---'-n
                                                                                    2008 Munkttaal                                      Method or returning
   Hidalgo'          5alvador Vala          M8'I m bil:Hoc v1ol1tio111                                          12-035'28                                                                                                 12/27/12       E.C86.006        l'io II
                                                                                        Fr_.tjr,,,n                                       marked ballot
                    ,; t                                                                                                                                                                                                                                  ,,_, guilty ta rllooar vo ng. santancad to 2 -••
                                                                                                                                   1 00"'1t of Illegal Votino·
      -              Fermma Catillo           Jll<IQ•I '/Wog • Peloo          21110 ,;.""'•I Election         CA·191l-12•1
                                                                                                                                    {1) inel1111!>1" vote,
                                                                                                                                                                                                     1                    Of/17/13      e.c. s...1112
                                                                                                                                                                                                                                                            d e l ..-red wit/\ community wpw,.,on and $100
                                           Vote Harvesting/Mail Ballot
                                                                                                                                                                                                                                                          .Pied
                                                                                                                                                                                                                                                             .. no.. .c0ntest to Untawrully Ass1!.t1ng Vat@r
                    Marganta Rangel                                                                                                     1 count Unlawfully                                                                                                (Class A Misdemeanor) 12 month county Jail,
   Cameron                                  fraud/Asslstance Fraud;           2010 Primary Election          2013-DCR-00484                                                                          1                    05/30/13      E.C. 86.010
                        Ozuna                                                                                                             Assisting Voter                                                                                                 probated for 12 month community service.
                                                lnf'luendng Voter
                                                                                                                                                                                                                                                          -,en nn•·-
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                                                                                                            tO·Ol-tlr.l43·CR'     fl) votilf" fffil)f!t'SOMtton a,t    2   0(#24/tl      e,c. fi.4,_a12

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                                                                                                                                           pelting-pla.ce,
                                                                                                                                                                                                             Convicted urino a jury trial, l count of il!eoal
                                                                                                                                                                                                             voting (1) ineligible voter, 3 years TDCJ, $10,000
                    James Alan                                                                                                     l count of illegel voting -
Montgomery                              Illegal Voting • Residency         2010 Special Election           12-03-025479-CR                                                 06/28/13      E.C 64.012          fine and $364.00 in court costs
                      Jenkins                                                                                                           Ineligible voter
                                                                                                                                                                                                             reversed/remanded by 14th COA, pending new


MontQOffll!l'y                                                             20!.0 I          flecUori       12·03·02581-cR                                                  07/12J13      e.c.5,4,012         1 '/Mt Pll't.lt>.tlon. - ?(•.-trlat DtVltl'Siofl Froot•;n

                                                                                                                                                                                                             Convicted during a jury trial, 1 count of illegal
                                      Fafse statement on application,                                                              l count of illegal voting -
Montgomery         Adrian Heath                                            2010 Special Election           12-03-025480-CR                                                 10/31/13      E.C. 64.012         voting (1) ineligible voter. Sentenced to 3 years
                                               illegal voting                                                                          ineli9•ible voter
                                                                                                                                                                                                             TDCJ and $10,000 fine, $334.00 in court costs.

                                                                                                                                                                                                             Coowicted at jufy b;ta,1, LCOUJ'ltot iftegnl voting fl)
                                      Fels. s.t.Btetnenton.•ppha,tk:-4"1-.,                                                        1 to,mt otil"-,1I voting•                                                 "1 li1g1bte.vow S.Otenced. V dehm
M mo,y            Syt,,1L,..0oy1,.                                          20l0 •l'EiOQIO!l                P2--03•0Q583-CI\                                               04/62/14      E.C.64.012
                                                ilteg11i votinO                                                                          meUoible voter                                                      as,reement'" l eelf5'. TDCl, prob.at tor 5 -,e-.,,s,
                                                                                                                                                                                                             $:5,000 n- and $-35"11}.001nic.oon.aists.
                                                                                                                                                                                                             Convicted at bench trial, 1 count of illegal voting
Montgomery       Roberta Margaret False statement on appllcatlon,                                          12·03·0258S·CR         1 count of illegal voting ·              04/02/14      E.C 64.012          (1) ineligible voter. Sentenced by deferred
                                                                          2010 Special Election


                        Cook                    illeoa! voting                                                                           ineliglble voter                                                    agreement, 3 years TDCJ, probated for 5 years,
                                                                                                                                                                                                                     I
                                                                                                                                                                                                             Ph:(11gv1 tQ; tltagal .mg .a:ttatnptacl <don
                                                                              2&UJ Mllnic/pal                                     l count of' ,fte;Jzil -.-odn(J                                             v"Otet) Oas:,; A rn1sdeameenor. Sentenced m 10:
 c.ameitun 11
                   Gaaa:. !srael           lf[-11/o</OQ • F1IM                                             2013·0CR·OO<;S7                                                 04/10/13      E.C6"4.0l2
                                                                                     Eloctfo•                                       '"'"'O!bte          (fWOn l                                              montt-.s c:onfmernen•t .'2 ymrsi pr:obar:lon* ffn.e




Montgomery        Name Removed
                                      False statement cm appllcatkm,
                                                1lleQal voting
                                                                           2010 Specal E!e(;.t1on           12-03-xxxxx-CR
                                                                                                                                   1 count of illegal voting -
                                                                                                                                       ineligible voter                          ◄
                                                                                                                                                                           05/15/1       E.C. 64.012
                                                                                                                                                                                                             1 year Deferred Prosecution Probation. Eligible
                                                                                                                                                                                                             for expunction after serving 12 mos probation.
                   W'llf1amr Mervin
Monrgomer)I'                                                               2dlCl5""0al Electooo             2-0'.Hl2S86<R                                                  l0J23/H       E.C.6'1.0i:!
                     Berntsen



                                                                                                       14·CCR·02977•A/14·CCR·         3 counts - Carrier
                                                                                                        02983·A/14·CCR·02984·     Envelope Action: Person
                                                                                                         A/14-CCR-02985-A/14-     Other than voter (Misd B)1
                                        Vote Harvesting/Mail Ballot                                      CCR-02987-A/14-CCR·      3 counts - Assisting Voter                          E.c 86.oos1 /          Pied guilty to unlawful assistance of voter, 6


                                                                          2012 Primary Election         02989·A/14·CCR·02991·        Violabon (Misd A), 3                              86.010 / E.C
 Cameron         Tomasei Chavez          fraud/Assistance Fraud;                                                                                                      13   01/22/15                          month confinement, probated for 1 year of
                                                                                 Runoff                  A/14-CCR-02993-A/14·         counts - Method of                               86.006 / E.C
                                             lnfluencing Voter                                                                                                                                               community supervlson, fine $250.
                                                                                                         CCR·02995·A/l4·CCR·        Returning Marked Ballot                               64.036
                                                                                                        02996·A/l4-CCR-02997·          (M<sd B), 4 count •
                                                                                                        A/14·CCR·02999·A/14·         Unlawful Assistance to
                                                                                                             CCR·03003·A                 Voter (Misd A)




                                                                                                                                                                                                             Plod guilty ta Blegahoong (               ) Sentenced to
 :i.mw..1s,      a.oiloMi,ct..JI.

                   Mark, Homere
 J1m Wells
                      Almaraz
                                                                                                                                        f ln    ZLld Felon

   H&dalQo
                     lo"'• Luis.       Unlawfully ,eje<ling votors,
                                       m11ga1        and unlawtui/v
                                                                              2008 M,iniqpa!
                                                                                                            CR·2f>23·09-El        12, co.unts of 1llegat VOttng       12   02/25/15          ◄.012
                                                                                                                                                                                         e.c.6
                                                                                                                                                                                                                                                               JrrOQ111
                   la---                                                          Elect,qn
                                        Vote Harvesting/Mail Ballot                                                                     1 Count - Unlawful                                                   Pied gu1hty to unlawful assistance of a voter.
 Cameron          Facunda Garcia                                           2012 Primary Election
                                         Fraud/Assistance Fraud;                                           14·CCR·02980·A           Assistance to Voter (Misd.             03/19/15      E.C 64.036          Sentenced to 3 day confinement in county jail and
                                                                                  Runoff
                                              nil                                                                                                A                                                                    fin.
                                                                                                                                     CQtJJn: • l!l'rr1er  ve P<I
                                                                                                                                    Actfoa: Per5i01n Other ttian
                                       V6'• tta,vos ,            e.llot                                                           . vet..- Mi$di !l), l Cooot •                       !cC M.0051 /        c l )'Mt P,f;lbedon un           divers:)on dgrertt


 c...,...,,..     Ben;,!ceCa«a           Fraod;,.ssista'fi<e f Old;       20L2 Pcimar;, EJ<lctio       I4•CCR.•OZ9.79•A/L1°CCR·      M od or Ro!urmng                      04/08115    86,006/      EC       (Der..,ri!d Pros.J !or ol&,ns" or tJnfowtully ""!sting
                                                                                                                                                                      l

                                                                                                                                                                                            Vote                   Fraud - Method of Returning Marked Ballot
                                       Cameron                                                                                                 lnlluenclr,o
                                                                                                                                                                                         Harvesting/
                                                                                                                                                  Voter
                                                                                                                                                                                         Mall Ballot
                                                                                                          Rafael Angel Elizondo
                                           Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 101 of 122
lwnolt          030             Mo,kodi Ballot (Misd B), l                 64.03.6          vote:r.
           IH,/14·CCl!-           a,unt - unrawruf
             D30l l·A            AssJSbll!Ca ta Vater (Mi.d

                              1 Count •Method of Returing
                          '   Marked Ballot more than 10                                    P1ed no contest to
  2012                           but less than 20 offical                E.C. 86.006        Method of
Pr<mary                        ballots/carrier envelopes, (   06/12/15                      Returning Marked
Election                           3rd Degree Felony)                                       Ballot =10<20,
            2015-DCR-                                                                       (Oass A).
Runoff       00269-D                                                                        Sentenced to three
                                                                                            days in county jail.
                                                                                            and taken into
                                                                                            custody,




                                                                                       Information as of 4/20/2022   Page 5
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                                                                                                                                                              ...,
                                                                                                                                       Reiunno M&Itt:: Ballot.
                                                                         201ZPrncf Eloct10n              W!S·OCR-00270•0                                                                           E.C. 116.006-
                                                                                                                                                                                                                       fl<d g,,UI;)< ro Motllod <A' R• -"0019•!o<l<ad Ballot
                                                                                                                                           tawerU'lan 10 otl111l:at
                                                                              Runolt                                                                                                                                   <1£1 (Otss 6), Sentenced to two day$ covn jltiL
                                                                                                                                      ballots/<A!IIO< en

                                                                                                       14-CCR-02981-B/14-CCR-                 counts       arrer


                                                                                                                                      Envelope Action: Person
                                    Vote Harvesting/Mail Ballot                                        02986-B/14-CCR-02988-                                                                   E.C SG.00Sl / E.C       Pied guilty to Carrier Envelope Action by Person
                                                                         2012 Primary Election                                        Other than voter (Misd B),
Cameron      Marganta Ozuna          Fraud/ Assistance Fraud;                                           B/14-CCR·02990·B/14·                                                   08/10/15               _                Other than Voter. Sentenced to 15 days county
                                                                                Runoff                                                  3 counts Method of                                          86 006
                                         Influencing Voter                                              CCR-02992-B/14-CCR-                                                                                            jail and $250.00 fine/court cost
                                                                                                                                      Returning Marked Ballot
                                                                                                              02994-B
                                                                                                                                        1 C'.OU t .. lmJawful
                                                                                                       14·CCR·02'>78•C/H·CCl1·        Asslstooa to VOW (Mlsd


                                                                                                      , 02998•C/l •CCR•03000-- , ·   A},     1 count • As,. stfrtg
                                                                                                  .      CJt4<CR-03001•C/14·                                                                  e,cs-..CJ36e1.c           PJe!ld gwlfy ta Class A misdemeanor Unfawh.1I


                                      \Iott H.a<VeStl<ig/Mail !!allot.                                                               Voter v-,1.1:ro IMisdL It} ,4
                                                                         :WU Prima,V Election          CI:R-03002-C/14-CCR-                                                                       86010/       E.C     AsSfst.!nce: ot a Vote:r. 12 months at deferred
                                      fraUdJAss"fSta.,,._ Fn,ild;
                                                                                Rtmolt                 030lH-C/14,·CCR-0300S·
                                                                                                                                     counts. Caine, Envelope              rn   08/19/!5
                                                                                                                                                                                                 86.0051/       E.C    actJudkei:ion, $250 fin@, and t.t'r•,l\ino horn
                                          lnf.lutn¢J.nQ Vat                                                                           Action: Person Other than
                                                                                                       C./14·CCR·03 -c/14•                                                                            86.006            an<fl.111g mail ballets and assiSl1ng voters
                                                                                                                                     voter (Mm.ct, 8), cotmts. •
                                                                                                       C0H)3007·,;:/14-0:R·
                                                                                                                                        Mat;t"iod ,of Retumirig
                                                                                                               o3ooit-c                tt•ri<edilallot (M,sd. Bl ,
                                                                                                                                                                                                                       Waive a jury trla and pied guilty to one count o
                                     Forgery/Tampering with                                                                           1 Count of Tampering w /                                                         3rd degree felony Forgery. Court convicted


 Harns·        Avery Ayers        pe1tit1on for candidacy - forged 2014 General Election                       1476757                  a Governmental Record                  10/06/15             P.C. 32. 21        defendant and sentenced him to five (5) years
                                             signatures                                                                                         (SJF)                                                                  TDCJ-InstItut1onal DIv1s1on. No fine, court costs or

                                                                                                                                     1 Count      C-aqiet Envelope                                                                                                       "'v-
                                   Vot• Ha,v.s.tlno/Ma" Batlot           2.01:l'Ptiri\ary EfecdOfl         l.4·C0<·02982-C
                                                                                                                                     lllctl'.ori: PVf$00        t11an
                                                                                                                                                                                                   e,_c. 86. 00fi                                        ....... ...i n,
c.rne,ran-                           F /1,sslstan,.. Fr ud:                                                                           ,ote, (i,ilsd. B), k O:l<Jnt -           10/211/15
                                                                                  Rul'\Ol't                l 4 CCR•03009<.                                                                                                                            rtGO<ts, liHflt t
                                         tnftl.HtnemQ votw-                                                                                Method of Rat.t.nn,1110
                                                                                                                                      M.arl<ed Ballot (M1"'1 B)
                                                                                                                                           1 Count llleoal Voting                                                      Pied no contest to Count 1 of the Indictment -
                                                                             2013 Municipal                                                    (Municipal)                                                             Illegal voting (ineligible voter-I10n resident) in a


Edwa,ds       Michael Scotch        Illegal voting (residency)           Election 2014 Primary                   6053                 2 Counts of Tamper w/ a                  12/07/15            E.C 64.012          plea bargain agreement. State to dismiss counts
                                                                                Election                                                  Gov't rec 1 Count of                                                         2, 3 & 4. Sentenced to 24 months of deferred
                                                                                                                                       Illegal Vobng (Primary)                                                         adjudication community supervision, $500 fine

                                                                                                                                        l Count Illegal VO!)Jl(I                                                       Pied no- c.ontest to Cotint. 1 ot the !rtdktmenll •
                                                                             2013 l'-r'unld\>at                                              (Munio..-1)"                                                              Ille !-voting (fnetig,bl• YOtllf·n,C)fl residant} in•
Edwards                                                                  Eledi , 2014 Prtm••v                                         l Counls of Ton- -w/ •                   uJ01hs                                  pk<, i..roain                 State- ta dlsmi<s c.ounts
                                                                                 8.eai'on                                              SOll'l""" l Count of                                                            2, l & -4 Sentenced to 24· mm,ths of del'erred
                                                                                                                                      lllegia>ll<ltJ (Pri,nar,;)                                                       adjudlca.tlon cammt1.nlty s.Operv1s.ion, ts·oo fine

                                   Vote Hervesting/Mail Ballot                                                                                                                                                         Co-defendant accepted criminal responsibility for
             Guadalupe •Lupe                                                                                                          1 Count Carrier Envelope                                                         these offenses in plea resolving causes CR-15-
                                                                                                                                      Action: Person Other than
                                                                                                                                                                                                                       08767-E, CR-15-08768-E, CR-15-08769-E, CR-15

Hidalgo                              Fraud/Assistance Fraud;
                                                                             2013 Municipal                CR-15-08765-B.                                                                       E.C. 86.0051        E.C. 08770-E, CR-15-08771-E, CR-15-08772·E, CR·lS
                Rivera, Jr.
                                                                                                                                      Voter, 1 count Method of                 07/11/16
                                                                                Election                   CR-15-08766-B                                                                              86 006             08773-E, CR-15·08774-E, CR-15-08775-E, CR-15
                                        lnfluencin9 Voter                                                                             Returning Marked Ballot
                                                                                                                                                                                                                         08776-E, CR-15-08777-E. CR-15-08778·E, CR·
                                                                                                                                                     <10
                                                                                                                                                                                                                        15-08779-E, CR·15-08780-E, CR-15-08781-E,
                                                                                                                                                                                                                        and CR-15-08782-E.
                                                                                                           Cll·tS·08767·E
                                                                                                           CIH.5·007!;!1-e.
                                                                                                           CQ-15·03769·E
                                                                                                           CR.·lS·081]0-E
                                                                                                                                             1 Count Unlawful
                                                                                                           Clt•l5•08771-E
                                   \Iota HoN9StinQ1Ma 'SaITot                ll>.13Munk,pal
                                                                                                           Cll-lS--08772-E
                                                                                                           CR·IS·08773·E
                                                                                                                                       A:sstst1,n(lt: to v m.rJ 6J
                                                                                                                                       eO\JntS carrier fn\le.lQpe_
                                                                                                                                     Ac:tiotii Person ()('he, th,1n
                                                                                                                                                                                                                       Pr«d aollty tx> UnlawM A!I•"""°"'  to a llot..-; Clos•
                                                                                                                                                                                                                       A m!sderneaM , SG,fltenced to 365 deys CC\ jail.
             Gulldalope 'i.upe"


Hl<lilll!d      R.(,.;,;;, Sr.       frllo Au aoce. fr&'-d;
                                                                                Ehction
                                                                                                           Cll-15·08774-E            CR·L5·0871'Ji-l!. CR·L5-U97EO'-f!.        \loter. 6 counts Method                 R.eruml11                        A            s
                                         !nffuoOCiftlll/Ote,;                                              CIH5·08775•E              CR·IS-0&7Sl·E                                                                     g. Menr«ct                       S            t
                                                                                                           CIH.!Hl6776·c                                                       of                                         8etlot                        "            t
                                                                                                           CIU5-88777•E                                                                                                 <10- 3.                         s            n
                                                                                                                                                                               i6                                        oouirits                       4            g
                                                                                                           C - l5-09778'-11
                        Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 103 of 122
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                                                                                                                                                                                                                                                                                               t"Jec guI ¥ to \.amer cnveiope RC'tl.ail: rerson
                                                                                                                                                CR-15-08761-B                        2. counts Carrier Envelope
                                                                 Vote Harvesting/Mail Ballot                                                                               CR Action: Person Other than                                                                                        Other than Voter, Oass B misdemeanor. Pre-trial




   Hidalgo          Graciela Sanchez                              Fraud/Assistance Fraud;                         2013 Municipal                15·08762·6               CR-15                                                                             07/11/16          E.C. 86.0051      diversion for a pertod of two years of community
                                                                                                                                                                                 Voter, 2 counts Method of                                    4
                                                                                                                        Election                 08763-B              CR-15·                                                                                                                   supervision, pay court and probations fees,
                                                                           lnHuencing Voter                                                                                           Returning Marked Ballot
                                                                                                                                                           08764-B                                                                                                                             com plete 24 hours of community service. Other
                                                                                                                                                                                                            <10                                                                                      ..
                                                                    ,.                                                                                                                                                                                                                         O>n <cted by jury• an both count,< o/ llllagai lf0Mn9
                                                 /5                                                                W12GOOQIJI!                                                   2 count.ol lU<'gal Yot,f\g -                                                                                  N"'1<'i<INII> J (\I           h .. lo • period oF



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Oa- 19' l.uraot !losaMartao,,-                                   ll •I \lotiolj • Non-Qt,_,                                                                '4.34155                     1n■ le.vot1c (non                                     2            02/09/1:J         E.C:bf.012
                                                                                                                  Primlfry Run-Of!'                                                                                                                                                            Criminal JU'Stice In&1tuti0Ndl OivlSJ0a oni esch:
                                                                                                                                                                                                       GitJZenJ
                                                                                                                        Elo.ction                                                                                                                                                              count, sent600i• t.<> ru co01WrrO<>tly $,5,000,00
                                   :?            }:{                : I
                                                                                                                                                                                                                                                                                               fine and $)2.9,60 I• aiu•t ai•tt><
                                                                         Illegal Voting - voter                                                                                      2 counts of illegal voting,                                                                               Convicted of illegal voting (2nd deg. felony).


                    Manuel Rodriguez                         impersonation, ]!legal Voting - 2014 General Election                                           1730                  ineligible voter (felon,                                   2                                                Sentenced to two (2) years in the Texas
  Edwards                                                                                                                                                                                                                                                  2/27/2017       E.C. 64.012 (a) 1
                                        Ill                      ineligible voter (felon,                                                                                        unregistered), voted as 99                                                                                    Department of Crimtnal Justice Institutional
                                                                   unregistered voter)                                                                                               yr-aid grandfather                                                                                        Division.

                                                                                                              Nov 201.4 oanwaf
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                             !ljto 11--                          trt',..1 \lot1.:n9 •n.tigil:,I• VQt•       "1'•tch 201'6 primary                                                      iflf:tl lbl• \lotfir (rion..                           ]                                                ?rosecuti'oP Divllf'jlion Pr"o0ra.rn .. 5t1pu{anon of
   Edwotd,                                                                                                                                           Cl<7719096408                                                                                         12/2M17           E.G. 64.0?2
                               lall-n                                      (non-resident),                   ei.ctton, M_ay %916                                                      ras dent) • lnd d&Q""'                                                                                   •       to 7 c.our,\S ll16QIJI Votiog
                               I                     f
                                                                                                            .o,y or RM!S •ng;.                                                                           Felony                                                                     '
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                                                                                                             ::>pee1a1 ..... v- .. LJISl. L -
                                                                                                              2/13/2016; Special
                                                                                                             COL Dist. 2 Runoff ·                                                4 counts of illegal votmg -
                    Angel Antonio De                            Illegal Voting- ineligible voter                4/2/2016; Joint                                                                                                                                                                Prosecution Diversion Program - stipulation of
         Webb                                                                                                                                        CX8826260117                 ineligible voter (felon) -                                  4            01/29/18          E.C. 64.012
                       Leon, Jr.                                 (convicted felon, on paper)                      Primary Runoff -                                                                                                                                                             guilt to 4 counts Illegal Voting
                                                                                                                                                                                     2nd degree felony
                                                                                                                       5/24/2016;
                                                                                                               November 2016
                                                                                                                          _,
                                                                                                              ov. ,.,, :genora!
                                                                                                            efectfon; { i8rch ZO:tlS                                             l wunto a ille(IIII Yotmg -                                                                                                        ;:.,
                                                                IHegAI VOOllO• lnel!Qibl• w<er                                                                                                                                                                                                 l'l! cu;!oo Dlv=lo<o aoio.m • stlpulatl<l,\ of
         webt>      Aro.J.i-o Garcia. Jr                                                                     Qernocrattc l'flrna,y;                  CX8'1409S'OI01                   ineligoole· atMr (felon,)                               3,           01/lJ//L&          E.C.64.012
                                                                  (c,,o.,ct-.1 felon. on PIPV)               M•r 2016 0.ooo•tiC                                                           2nd daQrM it«tony                                                                                    gui lo J ,:;o,mt5 111..,,,.1 Voting
                                                                                                                              -
                                                                                                                                                                                    2 counts of unlawtully
                                                                                                                                                                                 Influencing voter In polling                                                                                  Prosecution Diversion Program • stipulation of
                                                                Unlawfully lnfluendng Voter In                Mar. 2018 Primary                                                                                                                                            E.C. 61.008; E.C.
    Medma                   Patricia Barton                                                                                                          CX:4240437617                                                                            3            04/26/18                            guilt to 2 counts unlawfully influencing voter; 1
                                                                Polling Place; Electioneering                      Election                                                             place; 1 count                                                                          61.003
                                                                                                                                                                                                                                                                                               count electioneering
                                                                     lk) wfulr1 Re,,eeling                                                                                                l COUll)t.unlew dty                                                                                  Prosecution OIWCSlon l'rogn,m - stipuletlon of
          Hfll              Aar.onliones                                                                     2l1Ul Prf""'r;, Rw,oft                  0(7'95',43';13300                 r'9YU:lh'l.f tnfot'imatK>n                             l            05/30Jl8    ;     E.C. 61.007       gutlt to 1 courtt Unla\11. lly reW:allng klfor"mad'on
                                                                 Information B ef ore • • Pbfi•                                                                                        h ...A-......,.,+s-'..........ii... ...1..,,,.,.                                                        .....,,,.   th& - ·•'- --'- -·
                                                                               - ---
                                                                Unlawfully Accepting a Voter                                                                                              3 counts unlawfully                                                                                  Pr,secution Diversion Program - stipulation of


     Dallas                 Shirley Brown                    not eligible to vote, by election 2016 Genernl Election                                 0<3852040670                                                                             3            05/31/18          E.C. 63.012
                                                                                 ;,,A,,o                                                                                                   accepting II voter                                                                                  guilt to 3 counts unlewfully eccepting a voter

                                                                                                                                                                                      Count: t - i11egftlf vmina,
  ; '.
                                                                                                                                                                                       2nd Degree Fetanv:                                                                                                       1
                                                                llh•o•I110ll1111: Election fraud;                                                                                    Count. 2 - et«Uo.n froua,                                                                                 Pr0:serutro Ot\letsfOn Progtam - s.tl13ul&t.on ot



    Kw:rocl;,       O:idaltlaorw.-.                                      h!M Slaterneot on
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                                                                                                                    Election
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                                                                                                                                                                                     Count 1 - illegal voting,
                                                                                                                                                                                       2nd Degree Felony;
                                                                Illegal voting; Election Fraud;                                                                                      Count 2 - election fraud,                                                                                 Prosecution Diversion Program • stipulation of
                                 Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 105 of 122
         Martin Olvera    False Statement on        Mar. 2018 Primary   0<8890196392                CIA;             3   06/27/18     E.C. 64.012;    gu!lt to 1 count Illegal voting, 1 count election
Kenedy
                         Registration Application        Election                        Count 3 - false statement                  276.013; 13.007   fraud, and 1 count false statement on a
                                                                                            on a registration                                         registration application
                                                                                            application, Cl B




                                                                                       Information as of 4/20/2022                                                                                Page 7
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                                    11       \/cdli.r; Ele<tion Froud;       Mar. Wl&F'rlmafy
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                                           False. Statame.nt OA                                       0<46412860:19                    Cl A;                                 !l6/05J18
                                                                                   EiectJoo                                                                                               27.6.011 1::3.007    fralld, ,JH\dl:C(tUlnt fa&. sUitamant Olrl 11
                                         ReQi.,,atlon JIWhc:atJon                                                        Couint 3 - fabal s.tatemMtt
                                                                                                                                                                                                               re,iTttrat'°n a: ttcn
                                                                                                                            ·on• reg,stratton
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                                                                                                                              2nd Degree Felony;                                                               Convicted of unlawfully assisting/influencing voter
                                      Vote Harvesting/Mail Ballot                                                             Count 2 - method of                                                              with mail ballot (E.C. 64.036), 12 months jail.
Nueces/ San      Rosita Torres                                                  Robstown 2016         S-18-3065-CR;                                                                        E.C. 64.012;
                                     Fraud/Assistance Fraudtillegal                                                         returning marked ballot,                         6/12/2018                         probated for 18 months; $1000 fine; 10 days
  Patricio          Flores                                                         General             18-CR-83358                                                                        86.006; 64.036
                                                 voting                                                                                    SJF                                                                 confinement in county jail servliil:d day for day as
                                                                                                                             1 count misdemeanor                                                               condition of probation

                                                                                                                                                                                                               Pf'"OS«1.J'don Dtverston Proor.arn ... stip111Jetlon of
                 Consuelo             1/ot• HA<\lestln{l/,...il E;alfo<:   ZOlf, Pn"'1<1,-Y unoff     0<3772923814
                                                                                                                               2 Coonts iJ<lrawM                             6/1S/20.18     e.c. 64.036        QUiltl to-:l!C®nt;s: unl1wf a55f5t'.8/'lQ. t9 '(f>t4rs
               Bari,eotos<:a to          fraud/Asslsta('l(!: )Fra:ud        '      Eloctlo                                         Ass:1 nc1111

               Maria Delcarmen
    Frio
                     Vela




   Starr
                     ,,_
                Veroni ca Flores
                                                                              20J!6 Primary;
                                                                           2816 Primary·Runoff        0'281974%16-
                                                                                                                         l Cou.it Fraudulent Use- af
                                                                                                                          Appllcat1on fot Si,,llot hy                        6/25/2018        C, 84.00·H
                                                                                                                                                                                                                                    rstOn Program • stipulation
                                                                                                                                                                                                                                    rouduleot use of ap.p,li.c.ation for
                                                                                                                                     M



                                      Vote Harvest1nQ at a o                        rimary;                              l Count fra  "'u dulent Use o                                                                              rsIon Program - stipulation of
   Starr         Dora Barrera          fraud • Fraudulent Use of           2016 Primary Runoff        CX4783488382         Application for Ballot by                         5/25/2018      E.C. 84.0041                            r!!!udulent use of application for
                                                                                                                                        1 ,1
                                                                                                                         l Count rau ulent US4!i of
                                       fraud- R-audutent v. r                                                                                                                                                 'Pro<<KUOOO Div.,_ Prog"1m . stipulation "'
                                                                                                                           A nc.,tan for !allot by                                         E,C 84.CI0-411
                                                                                                      CXOl.92300090                                                          6/25/2f118                        Ql,lik lo l C- nt frei<idutent ,,,fS. ril ll®lieatiol) fo,
                                    . Aj) lt,r      l!/'Uo,;li,'f Mail;                                                    M:ail.;. 2.C'oun.ts JJlegJI                                      E.C. 64.012.
                                                                                                                                                                                                               bol b by mai ol'\d 2 Cnun nr..;..1 Voting-
                Eusebio Lopez
                                       Vote Harvesting/f.1a1I BallOt
                                                                              2016 Primary;                             1 Count Fraudulent Use of                                                              Prosecution Diversion Program • stipulation of
                                        Fraud - Fraudulent Use of                                                                                                                          E.C. 84.0041;
   Starr                                                                   2016 Primary Runoff        CX6220705016        Application for Ballot by                          6/26/2018                         guilt to l Count fraudulent use of application for
                                       Application for Ballot by Mail;                                                                                                                      E.C. 54.012
                                                                                 E1 ction                               Mail; 1 Count Illegal VoUng                                                            ballot by mail end 1 Count }llegel Voting
                                                 I
                                    i: Vote.HairYe5                                                                                              Ulent Use C.
                                                                              2()16 Pnmerv;                                                                                                                    ProseiNtiorn Dtver.don Proomm - $tlg.ulatKW) ot
                                         F,aud• fr•udole<\t Use of                                                           Apphcat100 for BeUot by                                        E..C. 84.0Q41;     Ql• .otr lO. 1 Coun fllfud1,1'41nt Ui• 0f alWJ)'i.Cetion for
                                                                           2cn& l?ttmar,, uno(f       CX!8W927603                                                            6/2h/2016
                Alayssa Lopez        Appt..os: n. for S.1'ot by·M•ill;                                                       Malt; 2 Counts Jif<ogal                                        f;.C, 64.01:l;
                                                1          •                    EJfictlOn-                                                                                                                     1>1l'°t by mail "'1d 2 Cgunts Illegal Voting
                                      Vote Harvesting/Mail Ballot                                                       1 Count Fraudulent Use of
                                                                              2016 Primary;                                                                                                                    Prosecution Diversion Program - stipulation or
                                      Fraud - Fraudulent Use or                                                          Application for Ballot by                                         E.C. 84.0041;
   Starr           Z•ldl> S.                                               2016 Primary Runoff        CX9033550035                                                           6/26/2018                         guilt to 1 Count frnudulent use of application for
                                     Application fur Ballot by Mail;                                                      Mail; 2 Counts Illegal                                            E.C. 64 012
               ,, M.idl>Ncb                                                      Election                                                                                                                      ballot by mail and 2 Counts Illegal Voting
                                                                                                                        1 Courit ,-.u,hJi-ent Use- or
                                                                                Z016Po_,.,,                                                                                                                     uttbn Oiverskm Proarem 5tipulation of
               Jose Guadalup,&.                                                                                             Appficat,on for Ballot l>V                                     E.C. 84,oo.tl;
                                                                           201..6, Prlma:ry A.unoN"   OC96932l6El4.£,                                                        6(25./2018                        gui(t.toi 1-Cbunf"fi"audl.!le,nf use of a.pc,ftation fdr"--·
                   Garc.1a                                                                                                     Ii; :;z- C:oont• Jlhg,I•                                     EL M·.012·
                                                                                   Eierctio(i                                                                                                                  l>aHot bV mail         2.Count:S 11'8Q>I Voling
                                      Vor.e. Huve$.tlnQ{MaLI Ballot           2.0l& Primary;                            :t, C.ac.mt fraudulent Use of                                                          ?roS@CUt.011'1 Of el'SK\n Pro.gn,m sttpulair1on Cot
   Sam                                 Fraud - fraudolant us.oat           2016- PrIrmar; Runoff      CXOS-7625-7916        Appl1c.a.t:0n for B•llot b-.,                    6/2.5/2018     E C. S .0041       OU It ro 1 Counr fnwd:ufent use-of appl1carion for

                                                                                                                         t.C-0unt Frliudul•nt us.i ol
   Starr                                                                                              OGS9't3 8503        Apphcaitkm for 8itUot b'f                          6/2$/20111     EC 84.0041



                                                                                                                        1 Count frnudu nt Use of
   Starr      Rudolfo A. Tre-.m10                                                                     CX418330996e       Appllc-at1on for Ballot by                          oR-6/2018      E.C, M.IJOil



                                                                                                                        l Count f-r•UfU.l fmt. U'sa ot                                                        Prasecutf.an Oivatston Prog,;am • stjptbt.10(1 of
               R11ul loaoo,,.._                                                                                                                                                            E.C. M.Qa.tl;
                                                                                                      CX63612'1S996       Appl!Qt,oo f e.JloLby                              6/2.6/20l8                       1ou lt<to 1 CatJnt tralKi\.11-ent" u.5-Q Of applkation fur
                                                                                                                                                                                            E.C. 64.012
                                                                                                                        /       l count illegal Vot,n111                                                      11iol1"! !,,- m,ijj ond, l Count llleg•I ll<tDl\9
                                      Vote Harvesting/Mail Ball'ot              2016 Primary;                           1 Count Fraudulent Use of                                                              Prosecution DIversIon Program - stipulation of


                 Oeyla Mana           Fraud - Fraudulent Use of                                                                                                                            E.C. 84.0041;
   Starr                                                                   2016 Primary Runoff        CX2635106999       Application for Ballot by                           6/26/2018                         guilt to 1 Count fraudulent use af application for
                   Garc;a            Application for Ballot by' Mail;                                                                                                                       E.C. 64.012
                                                                                 Election                               Mail; 1 Count Illegal Voting                                                           ballot by mail and 1 Count Illegal Voting

                                                                                 20111·/.l•arcn                             l. Cqunt Fa e StateJ'l'le:nt                                    E.C. i:l,007       Pr'HllGut'fon DN'«$.10 Proo m • U1t>(btion cl
                 Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 107 of 122
larlah SafflZ.                                 0(9041380471       on Ap,pt.cati&", 1 Count   7/11/2018   E..C. 64.012   gu:lt to l Count false Statement an Apphcation
                         t>,,,,,,ao,n.:Mma,y
                                                                       Illegal Voting,                                  and 1 COunt lllegal Voting




                                                              Information as of 4/20/2022                                                                      Pege a
                                                       Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 108 of 122




                                                                                                                                                                                                               Prosecution Diversion Program • stipulation of
                                                                                       2018 March                                                                                        E.C. 13.007;
   Kenedy             JmmVel8                                                                                 0(2940077682                                           4    7/17/2018                            guilt to 1 Count False Statement on Application
                                                                                    Democr8tic Primary                                                                                   E.C. 64.012
                                                                                                                                                                                                               and 3 Counts Illeg81 Voting
                                           Vote ttarves.ttnu/Mail l!al!OI
                                                                                                                                   l C unt FM& Statement                                                       Prosecution Dlversior> Proo.am • snpulat,on of
                                             r,.c.,:1. l'saudut..,1 [Jw,ol               2018 Mon:n                                                                                      e:_c. ll.007;
  Kenec;ty         u, ticfa MiJnoz Vel• Applqt!Or, for BOl!ol bJ Mo_il;                                       087892Jl4507        Ot'1 Appliattlon; S CoMJnts             7/11/2018                            gw.tt to L Count False Statement on A:pplOtion
                     '    .                                             , Doarlo<:mic Pi:""""'Y                                         111"9'11\/oting
                                                                                                                                                                                          E.C. 64.012
                                                                                                                                                                                                               oll(! S Count• Ill-IVoting

                                                                                                                                  1 Count False statement
                                                                                                                                  on application; 2 Counts
                                                                                                                                                                                                               Prosecution Diversion Program · stipulation of
                                           Vote Harvesting/Mail Ballot                                                              False information on                               E.C. 13.007; E.C.
                                                                                                                                                                                                               guilt to 1 Count False statement on application; 2
                                           Fraud - Fraudulent Use of                     2016 March                                application for ballot by                            84.0041; P.C.
    Starr         Guadalupe Garza                                                                             0(8930944834                                                7/25/2018                            counts False information on application for ballot
                                           Application for Ballot by Mall;           Democratic Primary                           mall; 2 Counts Tampering                                   37.10;
                                                                                                                                                                                                               by mail; 2 Counts Tampering with a governmental
                                                   llleoalVobng                                                                     with a governmental                                   E.C. 64.012
                                                                                                                                                                                                               record; l Count Illeoal Voting
                                                                                                                                   record; 1 Count Illegal
                                                                                                                                            Voting
                                                                                                                                   i Count False s.tatement
                                                                                                                                  oAJ a btton; 2Coones
                                                                                                                                                                                                         PtOSleC:Utioo Diverslof\. IP't'ogtalin .. s.tip,ulahM of
                                           Vol:•11••-Ung I S.lloe                                                                   FalH in-fo1mt1tkrll an                             e.c. n.001: e.c. 1ltto   1Count.Fei\H steterneoton l!ll( >hatl'Cln; 2
                    :Br•ndo,-. t.N;        Fraud - fr•uck.ltenr Wse o                    21)16M•rch                               appt1c:at;on; for batfot by                           84.0041; i>.C,
    stair               Garza.            Applkac/on.for Ballot by Mail;             Dei-mocta:dt": Primary
                                                                                                              0<623 993804
                                                                                                                                  m,111; 2.co.uhts TarnpacMo
                                                                                                                                                                          7/25/201fJ         37.Uli;
                                                                                                                                                                                                               Couor. Folsecirfom,ation      °"'
                                                                                                                                                                                                                                           •polkatian f"' balloo
                                                   11'-qal 1/'oting                                                                                                                                            by moll; 2 Counts Tompe,IAQ Wltn a Q'1vemmental
                                                                                                                                    wfth al QOllilf'nmantall                              E.C. 6'1.012,
                                                                                                                                                                                                               r.c.:..cl; l Coont JIJ'eoal Vottng
                                                                                                                                   recOftd; l C6Ur,t Iltegal
                                                                                                                                            Voting
                                                                                                                                 Count 1 - earner envelope                                                     Convicted of unlawful possession of a ballot
                                                                                                                                        action, SJF;                                                           (86.006); carrier envelope action other than voter
                                                                                                                                    Count 2 - method of                                                        (86.0051); and unlawfully assisting voter with a
                                           Vote Harvesting/Mail Ballot                                        18-CR-83109;         returning marked ballot,                             E.C. 86.0051;          meil ballot (86.010); sentenced to 180 days jail
Nueces/ San         Cynthia Kay                                                       Robstown 2016
                                         Fraud/Assistance Fraud/Illegal                                       18-CR-83110;                     SJF;                       8/14/2018    86.006; 64.036,         prob•ted for 540 days, 180 days probated for 540
  Patricio           Gonzales                                                         Primary Runoff
                                                        votlng                                                18-CR-83111         Count 3 - nssisting voter,                               64.012              d8ys, and 365 days probated tor 540 days and a
                                                                                                                                          SJF; and                                                             $500 fine, respectively. Sentenced to served 5
                                                                                                                                   Count 4 - illegal voting,                                                   days county jail, day for day, as condition of
                                                                                                                                     2nd Degree Felony                                                         probation.

                                                                                                                                  C..use i -ff1<9al >ottng -                                                   Coovicted of twl> count$ of lll"ll"I Voling fo,
   Hlirr1s;/
                    L•.uro Jllnetli        Uleoa,fll<>tto<i tOOll•dti""");                                    Ul'·05-4160l3;         vot.-r ooa.tlon.;                                                         ITT\f.lw:Sdn.atlng • votllil' •nd vot1t1g when SNilii wa.s.
                  G'1uza AKA An                                                   21116'. GeMntl £:1odion                                                            2.   9/13/2018       E.C.M.0 2.           not &1,/IJit.. to sote (noocitJNn), IO y.,r>J TOO
t!IQ\"llg<,mar;                          Jmparson11tton,cif II U.S. Ctizan                                    18•05-06032          Couse 2 · 1I1.o al 1/otir,g
                   V dlr.w Zamot•                                                                                                                                                                              "'<>bated lo, no yMJl'I, with 180 da)'< m jail ••
                                                                                                                                         (noini-dt-inl"IJ
                                                                                                                                                                                                               <01\<btfon•, $10.,o/Jo fin• ptbbated lb 10 years.
                                                                                                                                  l Count False statement
                                                                                                                                  on application; 2 Counts
                                           Vote Harvesting/Mail Ballot                                                                                                                                         Prosecution Diversion Program - stipulet1on of
                                                                                                                                     False information on                               E.C. 13.007;
                                           Fraud - Fraudulent Use of                                                                                                                                           guilt to 1 Count False statement on application; 2
                                                                                         2016 March                                 applia,tion for ballot by                           E.C. 84.0041;
    Starr          Artemlo Lopez                                                                              0(8019112853                                           8    9/17/2018                            Counts False Information on appllcatlon for ballot
                                           Application for Ballot by M•ll;           Democratic Primary                           mail; 2 counts Tampering                               P.C. 37.10;
                                                                                                                                     with a governmental                                                       by mail; 2 Counts Tampering with a governmental
                                                    Jllegal Voting                                                                                                                       E.C. 64.012
                                                                                                                                                                                                               record; 2 Counts Illegal Voting
                                                                                                                                   record; 3 Counts Illegal
                                                                                                                                             Voting

                                         • Mil l<llmneo.1: on Api>lil:ati<m
                                                  Billot r,au<I/Vo<:8                 2016 De tic                                  falsfl' SUtYtrAQOt q111 MIil'                                               ConV1cttd of Fa!sa State,mettt on .tit Sal
   TarBnt          t1,ar1.. Ja<k,.,,.,     l;lar--,esti - Forged Votef                ?f l'Mr Etac.tion
                                                                                                                15654tZ                                                   4,/6[20L9       !.'.C. 84.0041
                                                                                                                                        Ballbt Application                                                      btkm; sentencedr t 10 d:a)4 C.OU:1'1't'yl jilit.

                                                                                                                                 2 Counts - Tampering with
                                               Tampermg with a
                                                                                                                                 a Governmental Record; 2                                                        Prosecution Diversion Program stipulation of
                                         Governmental Record; Illegal                                                                                                                     P.C. 37.10;
                                                                                                                                   Counts - Illeoal Voting                                                      guilt to 2 Counts Tampering with a Governmental
     Polk         William Williams           Voting (voting ballot of               2018 General Election     0<1976897707                                           6    8/5/2019       E.C. 64.012;
                                                                                                                                    (voting mail ballot of                                                       Record; 2 counts Illegal Voting (voting ballot of
                                         another); Election Fraud - Mail                                                                                                                 E.C. 276.013
                                                                                                                                    another); 2 Counts •                                                                 another); 2 Counts Election Fraud
                                                      Ballot
                                                                                                                                       Election Fraud
                                         Jfleval Jot/ng/Ma1ij !!allot FroOd
                                              l m     n otian of clecused                                                        ColJ!ltS 1· 2 • llt•g•I v<>til'IQ                                             Dtsm'd' fur lad! oJ evidence and rn e.change for
Starr/Hklilloo    .&il'f>I<• Gana         " ° "'' 'M •II<>\ai;,plbtio11
                                         l'l'&ud, Mail t.ial!c>t co,t for voler
                                                                                     2016 l>emoaa!ic
                                                                                      Pr\roa"ty E'l.ction
                                                                                                              CR-0115'·19·J      Codnt 3 - fals¥ Stat.,umt                112 /20!!,
                                                                                                                                                                                         e.c. 64 012;
                                                                                                                                                                                          .C. 84,00-U
                                                                                                                                                                                                               c.f•ndsnt't cooperatwo with tht1 State e{)d en
                                                                                                                                 <a-1 Mail 6&ilol Applbtion                                                1
                                                                                                                                                                                                               ongoing inVt!'Stiglttion by the T xas Rangers,
                                               who was d&ad 9 yMrs.

                                              False Statement on                                                                 1 Count • False Statement
                                            Registration Application;                                                                                                                                          Prosecution D1vers1on Program - st1pulat1on to the
                                                                                                                                  on Application, 1 Count                                E.C. 13.007;
   Harris            John Alsup           Tampering with Government                                           0(8794422517                                                                                     commission of l Count False Statement an
                                                                                   2018 General Election                              Tampering with a                    8/17/2020       P.C. 37.10;
                                         Record; Election Fraud - False                                                                                                                                        Application; 1 Count Tampering with a
                                                                                                                                    Government Record,                                   E.C. 276.013
                                             Registration Address                                                                                                                                              Government Record; 1 Count Election Fraud
                                                                                                                                   1 Count Election Fraud




                                                                                                                               Jnformation as of 4/20/2022                                                                                                     Page 9
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                                   f1 se St.!1181\.e!tt.on                                                                 t COOJo, - Far•• St.,t&IT\ont,                                                  Pt           ()1'\,t:lidcn fir" m • ,tfl;u..latlon to t.ti-ie:
                           Reglstt•I/® Apphcat,on, lti,e!llll                  Wl8G.,_.,,I                           '' , dn Apl)lico,tloo, Coun.l't-                                 P!..C- B-1107;
                              I     ,,!.,         ·                    i                                                                                                                                   0>mmission of 1. Olunt false StnteffleAt on
                                                                                                                            Jil al\/'obf'II;                                                               Appfltation, ? C0<1fl1J; Jllogat,Voting; I Count
                                                                                                                                                                                                           T•m n;\SIIwith a Gcverf'mettt R11:teolidi l Count
                                                                                                                                                                                                           Eledlon fr&u,i


                                                                                                                                                                                                           Prosecution Diversion Program st1pulat1on to the
                                                                                                                                                                                                           commission of 1 Count False Statement on
                                                                                                                                                                                                           P..pplication, l Count Tampering with a
                                                                                                                                                                                                           Government Record; 1 Count Election Fraud

                                   fets:e 5tatli1ner,t Cl                                                                1 Couol • f.atw. StatemEint.                                E.C. 1 i.001;
                                                                                                                                                                                                           Prosecution. Divemoo Pr'Q(l'9.m • ""P<Jlatlon ,a the
                           Regislr,ilion App11ootion, U(egal'                                                              on A:ppticaOon, l Count                                                         c:atnm ion ot l Count fals"e Statement qn


                              vaw...o,; T :i mperlng w1th                                                                 11.,Vo!m!r)        l. O:uJnt                               E..C. &4.lll2.;
Han,'5     ael DebeUo                                                  2019 Goneraj Boalo           d&794422'i17                                            4     Er/l2/20W                                AppffCliion, 1 Cou:tlt Ilfegat Voting; 1 Count
                             Go.\l•ff? t Record} Er.afo,n.                                                                    Tampanmg, with a                                        ?.C 3,7'.10;
                                                                                                                                                                                                           Tampering with • Go mmen.t Riecord l Count
                             fnudi fal"s.e :Re01st1:'M:l0Jll                                                                GQ Recatd,                                               E.C..27!;.013
                                                                                                                           1 Count Election J=raud
                                                                                                                                                                                                           Electlo'1 fraUd
                                            Address,
                                False Statement on                                                                       l Count - False Statement
                                                                                                                                                                                                           Prosecution Diversion Program - stipulation to the
                           Registration Application; Illegal                                                              on Application, 1 Count                                    E.C. 13.007;
                                                                                                                                                                                                           commission of 1 Count False Statement on
                              Voting; Tampering with                                                                       Illegal Voting; 1 Count                                  E.C 64.012;
Hams      Name Removed                                                     2018 General Election     0<87944225--                                                 8/17/2020                                Application; 1 Countl Illegal Votino; 1 Count
                           Government Record; Election                                                                         Tampering with a                                      PC 37.10;
                                                                                                                                                                                                           Tampering with a Government Record; 1 Count
                             Fraud - False Registration                                                                       Government Record,                                    E.C. 276.013
                                                                                                                                                                                                           Election Fraud
                                       Address                                                                              1 Count Election Fraud
                                    falS:..S:t'at.-,,..ntio.n                                                            1 Count - F&lse. Statem11nt
                                                                                                                                                                                                           Pt bon DA, Pl"ogtam - stl ation to. t.i'Ma.
                           Rag!S!'ratlon Appliatllln, llle,;ja(                                                          oo App!lcation, 2 Counts                                    E.C. 13.007;
                                  vouno1 T• 1rv with
                                                                               2019 Geherlll                                                                                                               commis l<ln of 1 count False statement on,
                                                                                                                           lll IVObno        :f. Count:                              E-C. 6-4..0ll.:
HIil'!$    !lr r,Hollnef                                                       Election; 2018       0<879 42ll17                                                  S/l."t'/2.C120I                          A IIQltlOn; 2 Co,urtt9 Ill-o-,1 Voting, .1 Co-..int
                           · Gov•1nm"'11! Ra/:ord; E-.-.                                                                       Tampenng with a                                       P':C. 31.10;
                                                                              Piiimll,Y uno/11                                                                                                             Tamper, g witll • Gave<rtme11.t Re<:ord; 1 (:O.mt
                               Pra!Jd faiga R stratfon                                                                     Government Rleco.w",                                     E,C. 2:76. 0!3
                                                                                                                                                                                                           aeatoo fraud
                                            Address                                                                         1 C<>unt Election haUd
                                 False Statement on                                                                      l Count • False Statement
                                                                                                                                                                                                           Prosecution Diversion Program - stipulation to the
                              Registration Applicatlon;                                                                   on Application, l Count                                   E.C. 13.007;
                                                                                                                                                                                                           commission of 1 Count False Statement on
Harns      Micaela Ladet    T rnpering with Government                       Voter Registration     CX8794422517             Tampering with a                     8/18/2020          PC 37.10;
                                                                                                                                                                                                           Application; 1 Count Tampering with a
                            Record; Election Freud· False                                                                   Government Record,                                      E.C. 276.013
                                                                                                                                                                                                           Government Record; l Count Election Fraud
                                Registration Address                                                                       l Count Electlon Fraud

                                   false St.aten'IQnt oo                                                                  1 Count - False. Statemen
                                                                                                                                                                                    E.C. 1 l..001i
                                                                                                                                                                                                           Prosee::upon Dtverslon (?rogram - sti-pula:t10Q, to t
                              Regts!tatio Awl/ration;                                                                     on Application. l Count
                                                                                                                                                                                                           mmmjsslon of 1 Co1.1nt false,Statemeat, on
"1arrts     O..v,d Levy     Tampering with Governmant:                      Vate:rR.egtstration,    Cl<8794'422517            "'fempenng_With a                   8/H/2020           p_c. ?1.10;            pplication; l Coum't Tampering W1thra
                           Reo:)rd; Election fraud.· F■         rs.e                                                        Gooocmnw>t: Reml<I,                                     E.C 275.013
                                                                                                                                                                                                           Gov.,-nroe11r Reo:ird; ! C.Ount Electloo fre:tid
                                   ReQt tration Addr.-ss.                                                                  l Count Eiect10n Fr,avd
                                False Statement on                                                                       1 Count - False Statement
                                                                                                                                                                                                           Prosecution Diversion Program - stipulation to the
                              Registration Application;                                                                   on Application, 1 Count                                   E.C 13.007;
                                                                                                                                                                                                           commtssion of 1 Count False Statement on
Harris       Kyle Levy      Tampering with Government                        Voter Registration     CX8794422517             Tamperin9 with a                     8/14/2020          P.C 37.10;
                                                                                                                                                                                                           Application; 1 Count Tampering with a
                            Record; Election fraud • False                                                                  Government Record,                                      E.C 276.013
                                                                                                                                                                                                           Government Record; 1 Count Election Fraud
                               Registration Address                                                                        1 Count Election Fraud

                                   FaQ Stat&mant on                                                                      1 coont - fa-ts& st'at .nt
                                                                                                                                                                                                           Prosae:ut10'1 Oivetsilon Progn,m - stipulattOfl to the:
                            Regi<tr•llon Applal'l:i,,, ] gal                                                              onApplic.etlan, 2 Cot1n.ts                                 e_c_ 13.001,
Harri.-                           \/OiMng; Tt:impl!nnig:with                                                               lltega1 Votino,. 1 Count                                  E.C. 64.012;           omm1Ission of l Courit.fafse St.ftemant. on


          N""""R.emo...a                                                   2dl9 Si>e<i!,1 Elecuon                                                           6     8/11/2020                            lfo>tiQrl; 2Count• Jlfegel Voting;. 1 Count
                            Government Reoord·: El.c.tfom                                                                     Tamperinor with a                                      i> C. 37,]0;
                            f•111,ct 'fals<1Ragis1r1a,lon                                                                   GOVttrnmtnt R•cord,
                                                                                                                                                                                                       I  ml>91'1r,g   G<Neni11u!nt Re<ord; 2.Counts
                                            Address                                                                       2 Co.ul!\ts. Elec:hcn Fr'aild                                                 El«tlonf'fao,l

                                   False St?Jtement on                                                                   1 Count - False Statement



                           Registration Application; Illegal                                                               on Application, 1 Count                                                         Prosecution Diversion Program - st1pulat1on to the
                                                                                                                                                                                    E.C. 13.007;
                              Voting; Tampering with                                                                                                                                                       commission of 1 Count False Statement on
                                                                                                                           Illegal Voting, 1 Count                                  E.C 64.012;
Harris     Barnett Pate                                      2018 General Election                  CX8794422517                                            4     8/18/2020                                Application; 1 Count Illegal Voting; 1 Count
                           Government Record; Elect10n                                                                         Tampering with a                                      PC 37.10;
                             Fraud - False Registration                                                                     Government Record,                                                             Tampering with a Government Record; 1 Count
                                                                                                                                                                                    EC 276.013
                                       Address                                                                                                                                                             Election Fraud
                                                                                                                           1 Count Election Fraud
                               F.atse Statemant on                                                                        l Count' F•IH Statement
                             ReQls.trstl'Qn Applkatlbn;                                                                    ori #tpt)llcatton.. 1 Count                              ecc. n.001,            Prosec:utf011OlversJ°" PrOQr•m           st,pufat1◊n to u,e
                                                                                                                                                                                                           commission of L Col!.lnt f•  Sl•temtilt off
Han-IS      J<,/,n,S<Ott    Tame,erino "N:tth etnme'\t                      Votwt" Registratton     0<11794422517              lampenng with: a             '.J   !l/l9}2020        :c. L'.10,             Aji rica11on, 1 Cwmt Tamperfng w n •
                           Reeord: El f:an Ftnud • Faise                                                                   Gov:emrnent:, ReGOrd',                                   e.C. 2.76,0U
                               egistra on..... i«ess                                                                       l Count"E tion frm1d                                                            G611'e1amert Reco,d; 1 Co nte«;don F',eud
Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 110 of 122


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                                        False Statement on                                                                 1 Count - False Statement
                                                                                                                                                                                                       Prosecution Diversion Program - st1pu!at1on to the
                                      Registration Application;                                                             on Application, 1 Count                                E.C. 13.007;
                                                                                                                                                                                                       commission of 1 Count False Statement on
  Hams         Aaron Sprecher       Tampering with Government                 Voter Registration     CX8794422517              Tampering with a                   8/20/2020         P.C. 37.10;
                                                                                                                              Government Record,                                   E.C. 276.013        Application; 1 Count Tampering with a
                                   Record; Election Fraud - False
                                                                                                                                                                                                       Government Record; l Count Election Fraud
                                       Registration Address                                                                  1 Count Election Fraud
                                                                                                                           l C.ount • Fe:ls:e, Statement
                                        F\ lse..S emen. a:n                                                                                                                                            Pr<>Sealtj<Ill c:,,;.0$lo;-,lj'r'<'gf1,n • stii><J,latoo   th<&
                                     P.<>9ist,aooo, Apphtatlon;                                                              or, Applltotloo, 1 Count                              E.C. U.007;-
                                                                                                                                                                                                      commfsstoo ct l Count Fa • St•t•me1'1t eon
  tt..,.&,     )U<U Th<>(no$        "kfnpering with Govwmm.ent                Vote,; A "stratfon     Cl<.87'H4-22Si7           lornp&r«>g witt, •                 8/12/2020         pc., 37'.10,,
                                                                                                                              Goi,,&i"ntnent lit.•c»rd,                            E.C. 276 813.       Appft.cation.r t toont ra.rnperin:o-with a
                                   Rac:ord.;; El.e.ctio.rt Freud - FalsJt                                                                                                                              Government Reca.rd; l count Elktion fraud
                                         Rt1-fraoo·n Address                                                                 1 C:oun E bon Frei.Id

                                      else Statement on                                                                    1 Count - False Statement
                                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                     Registration Appllcatlon;                                                              on Appllcation, 1 Count                                E.C. 13.007;
                                                                                                                                                                                                       commission of l Count False Statement on
  Harris       Name Removed        Tampering with Government                  Voter Registration                               Teimperlng with a                  8/21/2020         P.C. 37.10;
                                                                                                                              GovP.rnment Record,                                  E.C. 276 013        Application; 1 Count Tampering with a
                                   Record; Election Fraud - False                                                                                                                                      Government Record; l Count Election fraud
                                      Registration Address                                                                   1 Count Election Fraud
                                                                                                                           1 C'.e1.mt - False Statement
                                          false Statement" on                                                                                                                                          rtos.tCUti0i' OjveJ$kin l?l"ogram - sdpul1Mon m the:
                                     P..e nstrat1011Appi1c•tlon:                                                            on Applicattol!l. 1 Count                              E.C. 13.001;
                                                                             Vote, Rt0isU•at         0!8n44-22.9r7              "ternpet!ng with•            3    9/2/2020         P.C 37.10;          <Ommlukin: of 1.Cbunt Fals4i Statement on
  Harris.           ludilh          T'11tm. !itig wlfh       \i' ('lt,                                                                                                                                 -"P.(.ilbtion_:1. Count Tampering, wkth a
                 2Jmmet:m,in


                                  R«:ord; Election fraud· False                                                               GQvernment Record.                                   E.c. .on            Gov nn-.nt Rea>rd;         COant Electi'OI!\ fraud
                                      '\•gls!{ati041 Add(-                                                                   L Count Electtoo Fraud

                                         False Statement on                                                                1 Count - False Statement                                                   Prosecution Diversion Program - stipulation to the


                                  Registration Application; Itlagal                                                         on Application, 2 Counts                                 E.C. 13.007;
                                                                         2018 Generilllt                                                                                                                commission of 1 Count False Statement on
                  Antonia            Voting; TBmpering with                                                                  Jlleglll Voting, 1 Count                               E.C. 64.012;
  Harris                                                            Election;         2019           CX8794422517                                                  8/21/2020                            Application; 2 Counts Illegal Voting; 1 Count
                 McClammy         Government Record; Election                                                                   Tampenno with a                                     P.C. 37.10;
                                                                       Special Election                                                                                                                Tampering with a Government Record; 1 Count
                                    Fraud - False Registration                                                                Government Record,                                   E.C. 276.013
                                              Address                                                                                                                                                  Election Fraud
                                                                                                                             l Count Election Fraud
                                          fatlia Statement on.                                                              1 Count" - F'afse Sut.mant

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                                  ReQistratlon App!1catf0n.; Ufegal                                                          on Applotlo•, l l'.:dimt                              ec. u.ooJ;          ¢0mm1ssion. ot !. Count fafsa Statement on
                                    . Votl!19; n,npennQ' .,.llh                                                              utegal V<ltullg, 1 C:OOM                               O. M.012;
  Ha-rr           Lui!/Clo•         G'oveirrunerJt R ord; e o               2018- G4,n<wl E1o<%1o    0<.&7944n511
                                                                                                                                l'1mp·llll'i.t1Q' ith. ij
                                                                                                                                                                  8/20/-;tD-20      PC.'37.10;         ,Awr"""on; 1 Cou,\t Jll.gotVoMg; 1 Oount


                                      Frat»' fai;Jse. A. !!ltration.                                                                                                                                    &mpe-rmq with a GoVtlrnrne:nt Record; t Couf\t
                                                                                                                               Governmeol:1Rec:ord,                                 EC 276.013
                                                                                                                                                                                                       Election Fra-ud
                                               Addtass                                                                       l. Count Elact!on fraud
                                  Unlawfully Assisting Voters with            2020 Presidential                               10 Counts Unlawfully                                                     Prosecution Diversion Progr!lm - stipul!!tion to the


 Medina          A. Hitzfelder                                                                       CX8093477769                                            10   05/19/21          E.C. 84.003        commission of 10 counts Unlawfully Assisting
                                       Mail Ballot Applications                    Election                                    Assisting Applicant
                                                                                                                                                                                                          lie.ant
                                                                                                                           l Cou t: - Fa:ls::a Stitei:nent
                                   ·' 'fal2,Stotement <>fl,
                                  R '"""" A pllcarion·;m•oal                                                                                                                       E.C. U.011'7;       Prosecutron-ONers n Program ., stlp tatcOll tc the.
                                                                                                                             on Appficatioo.. 1 CO.umt
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                  Dan11yre
                                       Votfug; TamP,ecj ..1,h
                                   Gwe, -Ro«>t<I/ EJo<:tlao
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                                                                                                                                TunplM'fng witl\ •
                                                                                                                                                                  09/02/2l
                                                                                                                                                                                   E.C. 64.0U;
                                                                                                                                                                                    P..C.',)7.W;       Appliaotlon. i  c....,, nle,;al \/ tw,g; 1 Count
                                                                                                                             Government Ra rd,                                                         Tam          with• Gowcnmentt Rt!la'.lC'd; t. Count
                                                 Fra.t'.ld                                                                                                                         E'C. 216.0ll
                                                                                                                                                                                                       IOcti<>b fnsud
                                                                                                                             1 Count S.ctloo Fraud

                                   Illagal Voting; Election Fraud;                                                                                                                                     Prosecution Diversion Program - stipulation to the
                                        FalS& Statement on
                                                                                                                                                                                   E.C, 13.007;
                                                                                 2018 General                                                                                                          commission of 1 Count False Statement on
Gu!ldalupe    Gregory Gilcrease        Registration Application;            Election;         2020   CX3419210173                                                                  E.C. 64.012;
                                                                                                                                 on Registration                  10/28/21                             Application; 2 Counts Illegal Voting; l Count
                                   Tampering with a Government                 General Election
                                                                                                                                                                                    P.C. 37.10;
                                                                                                                               Application, 1 Count                                                    Tampering with a Government Record; 1 count
                                                Record                                                                                                                             E.C. 276.013
                                                                                                                                Tampering with a                                                       Election Fraud

                                                                                                                             l cc,.unt ol Engadng in
                                                                                                                            Organiacad Eloctlon Freud.
                                                                                                                                 (F2), ? counts of
                                                                                                                            Fra:uch,ilant-Use, of an
                                                                                                                            Al>,ll,caboo for Ba ot by


              Stra"""!' Eve,;ette Orgaolm<I !!l«<•a l'raod ,.VAt•             2018 Demo<;ianc                                Mall (fl), i <oun or                                 E:.c. 27G.on:        Cans«ted or E.c. 276.,0t:l Efea:tan fraud, ond

 Gr"Olf · ·                                                                                             S SHl;,             ·1J l11wful! P95ses. ll'I of     n                                         S6n l::ed to :i. yr county Ja1a, probated tor 1 yr.
                    6raw.o                     H&nl"'/tll\9                        Pltirnary                                                                      1120/2022      iM,004 L; 86..606/



                                                                                                                       H               ,,                                          e. 011e.11ot Envelope,
                                                                                                                                                                                  S3'), 8 eotmts ofE!-.tion Fr-attdl (Slf)., and S. c.ourtts, af' Tam rn'IO
                                                                                                                                                                                                                 W!,ith; a
                 Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 112 of 122
  Gow'emme:n.t                               276.6t3; I'<'.: 3?'.10
   aJ Rec.or:d                                 and f2,00,0, .,,
                                              Public •Ji>OloO'f r
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 of 4/20/2022
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                                                                                                                              Organized Election Fraud
                                                                                                                               (Fl), 1 count of Illegal
                                                                                                                              Voting (F2), 31 counts of
                                                                                                                               Fraudulent Use of an
                                                                                                                              Application for Ballot by                                                     E.C. 276.011,      Convicted of E.C. 276.013 Election Fraud, and
                Marlena Roseanne Organized Election Fraud · Vote           2018 Democratic                                     Mail (F3), 7 counts of                                                     64.012; 84.0041;     sentenced to 1 yr county jail, probated for 1 yr.
    Gregg<                                                                                                50949-B                                                     97                1/20/2022
                     Jackson               Harvesting                          Primary                                        Unlawful Possession of                                                      86.006; 276.013;     and $2,000 fine. Public apology required as
                                                                                                                               Ballot/Ballot Envelope                                                          PC 37.10        condition of plea deal.
                                                                                                                                (SJF), 31 counts of
                                                                                                                              Election Fraud (SJF), and
                                                                                                                               26 counts of Tampering
                                                                                                                                with a Governmental
                                                                                                                                     Record SJF

                                                                                                                              Ofoonlied Election Fraul)
                                                                                                                              (P3), l <Otlnt ol Fr•udul""t


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    ....        Ch.ti • ll<l• i:, lf
                                       Organized Election fraud • Vote
                                                 -ting
                                                                            2018 Democratic
                                                                                Primary           !I      5 5,t.-0
                                                                                                                               Used an AppliaHon for
                                                                                                                                Ball<>t by Mall (Slf'}. 5
                                                                                                                                 counts of Unlawful
                                                                                                                                   Possession of a
                                                                                                                                                                      8                 1,/27/2022
                                                                                                                                                                                                            f:.C. 276.011;
                                                                                                                                                                                                          84,0041; 86.006;
                                                                                                                                                                                                                              C<inviicted of E.C. 86,006 Unta'Nful Posse:ssiOO of
                                                                                                                                                                                                                              Bal!Gtwith Intent to Oelraud. S.ntanced to 1 yr
                                                                                                                                                                                                          276.013; PC 37.10 <oonfy Jell, probat..:1 for 1 yr.
                                                                                                                                Beltottl!allot En elope
                                                                                                                                (SJF), and 1 count of
                                                                                                                                  Tempenng wtth a
                                                                                                                                Governmel"\ta; Record

                                                                                                                                1 count Engaging in
                                                                                                                              Organized Election fraud
                                                                                                                              (Fl), 1 count of Unli!!lwful
                                                                                                                               Possession of Ballot or
                                                                                                                                                                                                                               Convicted of E.C. 86.006 Unlawful Possession of
                                       Organized Election Fraud · Vote      2018 Democratic                                   Carrier Envelope without                                                      E.C. 276.011;
     Grew(       DeWayne Ward                                                                             50947-B                                                                       1/31/2022                              Ballot with Intent to Defraud. Sentenced to 1 yr
                                                 Harvesting                     Primary                                       the Consent of the Voter                                                         86.006
                                                                                                                                                                                                                               county jail, probated for 1 yr.
                                                                                                                                 (F2), and 4 counts
                                                                                                                               Unlawful Possession of
                                                                                                                               Ballot/Ballot Envelope
                                                                                                                                         (SJF)
                                                                            Z018R n                                                                                                                                            PrOS4tc tion Ofv on Program - 1 count Iflegal
     B•-          O;iwkl Tr.. 1ro               Illegal Voting                   Prima,                CR·2l-l>000047         l count ?!legal Vobng (F2)                                 3/S/2022          e.c. 64.012(bJ      lloti
                                                                                                                                 count o ggravate
                                                                                                                                 Perjury, 1 count of
                                        Tampering with Government          2017 City of Cibolo                                                                                                                                 Pied Guilty to l count Aggravated Perjury (F3)
                                                                                                                              Tampering w/Government
                  Stan "Stash"            Record • Application for              Election;              19-2108-CR-C;                                                                                         P.C. 37.03;       and 1 count Tampering with a Government Record
   Guadalupe                                                                                                                    Record with Intent to                                    4/12/2022
                     Boyle                  CancNdacy - Felony             2019 City of Cibolo          CCL-19-0809                                                                                          P.C. 37.10        with Intent to Defraud (SJF). Placed on 4-year
                                                                                                                                Defraud, l count of
                                        Conviction/Ineligible for Office        Election                                                                                                                                       deferred adjudication probation.
                                                                                                                                 Tampering with a



                                                                                                                              Total Count,/ Offenses
                                                                                                                                                                     691
                                                                                                 ,-------------,M 7o    r :=:r l      ;it='F         ud ---- 44 4 ----- 6 4 %---;rrNo t . , .- , Qn ,Fc a n t ov . , . p in=,. u=. c t,v , ty-, nv o v , ng tw=o o , rn o ,. o -,
                                                                                                 Number of offenses related       Assistance Fraud               169             24%       mall ballot fraud, assistance fraud, and illegal voting in the same case
                                                                                                    to cases involvin              lite al Votin                     189                   2711/o        ma result in totals > 100%.


                                                                                                                                   2015·Dr.. ent                     421)

• County offense occurred/County offense prosecuted. I L For complete information on disposition, see judgment and sentence. Prosecution Diversion p·rogram includes an acknowledgment of the comm1ss1on of offense/s.
 • Prosecuted by or with assistance of local distnct/county attorney. IJ Cause number, where availi!!ble; otherwise, OAG investigation or prosecution case number.
 This document is not a summary of all election violations in this state. This document does not record or l"'eport offenses handled exclusively by local law enforcement, district or county attorneys, or federal authorities. This document
 only reflecta cases inveftigated and/or prosecuted by the OAG.




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                                                                                                             CR-18-08299-G;
                                                                                                             CR-18-08300-G;
                                                                                                             CR-18-08301-G;               Misdemeanor cases 1-10 -
                              Unlawfully assisting/influencing                        2016 City of Hidalgo   CR-18-08302-G;            Unlawfully Assisting/influencing
Hidalgo   Marcela Gutierrez                                                                                                                                                     11    6/1/2018    E.C. 64.036; 64.012
                                   voters; illegal voting                               Runoff Election      CR-18-08303-G;                           Voters;
                                                                                                             CR-18-08304-G;             Felony count 1 - !llegal Voting
                                                                                                             CR-18-08305-G;
                                                                                                             CR-18-08306-G;



                                                                                                             CR-11Ml$2.961A;
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                                                                                                              CR'•l8•08170uA
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                                                                                                             CR-18-08167-H;
                              Unlawfully assisting/influencing                        2016 City of Hidalgo   CR-18-08168-H;                Counts 1-4 - unlawfully
Hidalgo     Sylvia Arjona                                                                                                                                                       4    5/31/2018        E.C. 64.036
                                                     voters                             Runoff Election      CR-18-08169-H;              assisting/influencing voters
                                                                                                             CR-18-08295-H



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                                                                                                                                    Counts 1-9 - False Statement on
Tarrant                                                                                                          1565415                                                                             E.C. 84.0041
                                                                                                                                         Mail Bl>llet Apphcatoon




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                                                                                                                                         '·i.Mail Ballot Awlia.Uoo
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                               Fafse Statement on Mail Ballot
                                                                                 2016 Democratic Primary                           Counts I - False Statement on Mail
Tarrant      Lau<a Parra      Application; Vote Harvesting/Mail                                                  1565155                                                             10/10/2018      E.C. 84.0041
                                                                                        Election                                           Ballot Application
                                         Ballot Fraud
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                                Election Fraud - False Statement to                                                                                                                              E.C. 276.013
HarrisL    Anthony Rodriguez                                          2018 General Election        1629438                    Counts l ·2 - Election Fraud              2       4/26/2019
                                          Election Official




                                                                                                                            Count i · En«<>iJllltJ in Orga,,lzed.
                                                                                               CR;,2.0S6·i9·A.                   'i       Election Frnud .
                                                                                                          H   -,.
                                                                                                                              C'!"lntifl·12 ;,mega! Voting X.
                                                                                                                            Count 1 - Engagino in Organized
                                                                                                CR·1.057-19·-A                            Election Fraud
                                                                                                                               Counts 2-3 • Lllegal. Voting

                                                                                                                    '       Cotlht1 Erigagl!',qI 9i:'Jlatlized
                                                                                                CR.•20SB-19·A           '      .. Iii '    El oo Fraud'• ·


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                                                                                                                             Count 1 - Engaging in Organized                                      E.C. 276.011;


Hidalgo·   Araceli Gutierr<>z                                                                   CR-3349·19-A                        Election Fraud                      2       8/22/2019
                                                                                                                                                                                                  E.C. 64.012
                                                                                                                                 Count 2 - lllegal Voting




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                                                                      2017 City ol Edinburg
                                           Illegal Voting                                      CR-3343-19-A                               Illegal Votir,g                       8/22/2019         E.C. 64.012
                                                                             Election




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                                                                      2017 City of Edinburg
                                                                                                CR-3341-19-A                              Illegal Voting                        8/22/2019         E.C. 64.012
                                                                            Election




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                                                                                                        2017 City of Edinburg
                                                                                                                                                                                                                  E.C. M.OlZ
                                                                                                              Election




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                                                                                                        2017 City of Edinburg
     Hidalgo·                     1o e Martinez                            lliegal Vot,ng                                                 CR-3347·19-A    Illegal Voting               8/22/2019               E.C. 64.012
                                                                                                               Election




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                                                                                                        2017 City of Edinburg
     Hidalgo'                     Ludivina Leal                            Illegal Voting                                                 CR-3492-19-A    Illegal Voting                                       E.C. 64.012
                                                                                                              Election




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     Hidal(I<)'           Rosendo Rodnguez                                 Illegal Voting                                                 CR-3345·19-A    Illegal Voting                                       E.C. 64.012
                                                                                                               Election


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                                                                                                        2017 Oty of Edinburg
     Hidalgo'                                                              lllegal Voting                                                 CR-3337-19-A    Illegal Voting               8/22/2019               LC. 64.012
                                                                                                              Election
                                    Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 119 of 122
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                                                                                                              67 counts Purportedly Acting as
                                     Voter Registration Fraud • Vote                                                                                               E.C. 13.006; 276.013
Limestonec   Kelly Reagan Brunner                                      2020 Presidential Election   15126-A   Agent (F3), 67 counts Election    134   10/21/2020
                                               Harvesting
                                                                                                                        Fraud SJF
                                    Case 5:21-cv-00844-XR Document 747-13 Filed 09/01/23 Page 120 of 122




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                                                                                                                              katlorl E:nhance,HF3), 13 , f,fi
                                                                                                                           counts Unlllwttlllv Assistin_g Voter,   ,                                                 ,tffi!                   '
                                                                                                                          d/otf119Ballot b,v'Mail Enifanc-.ed. " ·
                                                                                                                                  \.   .,;;    i::.    F3
                                                                                                                                 COUl'il'     .ngagmg in rganiz
                                                                                                                               Election F@ud (Fl); 2 counts
                                                                                                                             Illegal Voting {F2); 8 counts of
                                                                                                                                                                                                             E.C. 276.011; E.C.
Medina/                                                                                                                          Unlawful Possession of
             Leonor Rivas Garza      Organized Election Fraud · Vote                                                                                                                                        64.012; E.C. 85.006;
                                                                        2018 Republican Primary                             Ballot/Ballot Envelope Enhanced                         18         2/9/2021
Bandera.-t                                      Harvesting                                                                                                                                                   E.C. 276.013; E.C.
                                                                                                                            (SJF); 2 counts Election Fraud
                                                                                                                                                                                                                  El'l.0041
                                                                                                                                Enhanced (SJF); 5 counts
                                                                                                                              Fraudulent Use of Mail Ballot

                                                                                                                           ,1count Engaging mOrganized
                                                                                                                            ij%t F (fl);), fou!i\l'.Sfl
                                                                                                                            Hlle§,111Voting {F:1.); 2 counb ·;;
                                                                                                                              , Unla11<ful l'cssess!on of
                                                                                                                           Baffot/811llet' En !!fope, tnllanced
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                                                                                                                           '(SJ{j, 1 counfFraudulei,t Useccil
                                                                                                                                                                                                            64.012'; EX:, S&.006;
                                                                                                                           Mai• Ballot Application. Erir.anuid                                                    Pe, 37.10; EC
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                                                                                                                            l count ngagmg in                  rgaruze
                                                                                                                             E'lection Frn d (Fl); 17 counts
                                                                                                                                 Unlawful Possession of
                                                                                                                                                                                                              E.C. 276.011; E.C.
                                                                        2018 Republican Primary          CR21·021           Ballot/Ballot Envelope Enhanced
                                                                                                                                                                                                             86.006; E.C. 86.010
                                                                                                                              (SJF); 17 counts Unlawfully
                                                                                                                            Assisting Voter Voting Ballot by

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                                                                                                     , ,iii·:
                                                                                                                            (SJF}; 8 counts Eledioiffi',a.



                                                                                                                                                                                                                    .C. 64.012;
 Bexar/       Ract,al "Ra1:1uel1"   VoteHarvesting, Assistance Fraud, 2020 Presidential El<>ction         8231;             inten-t to defraud1 victim over 65                                                     E.C. 86.006;
                                       fllegal Voting, Election F,aud                                                                                                                4         :i/1/2021
Kendall•         Rodriguez                                                                              21-078-CR         (SJF); 1 count Unlawful Assistance                                                       E.C. 64.036;
                                                                                                                           (Cl A); 1 count Election Fraud (Cl                                                      E.C. 276.013


                                                 :--r,:= -               2020 Pn ilr(, E .     ;j                               ;l ;:, w :?G'. '                 \:·if•
                                                                                                                                                                                                            t             %,
                                               il1eoalVotfu11           2018 General lmd Sl)e'cial   21-Ql.i·088QfCR           tc1Jil11ts iiiaital V!lttrlQc..(i:zl                 . 2f ( '                 i'     E.C.' .Ol2 ,,
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                                                                                                                                   Total Counts/ Offenses Pending
                                                                                                                                                                                  410
                                                                                                                                   Prosecution




'County offense occurred/County offense prosecuted. I "Investigated by local law enforcement and referred to OAG for prosecution I 'Prosecuted by or with assistance of local district/county attorney.

This document is not a summary of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, and federal
authorities. This document only reflects cases investigated and/or prosecuted by the OAG.
